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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA

                                      )
IN RE: RAILWAY INDUSTRY               )
EMPLOYEE NO-POACH ANTITRUST )                          Master Docket: Misc. No. 18-798
LITIGATION                            )
                                      )
                                      )                MDL No. 2850
This Document Relates to: All Actions )

                                             OPINION
CONTI, Senior District Judge

    I.      Introduction

         In this multi-district antitrust putative class action, plaintiffs 1 allege defendants, 2

their employers, violated the Sherman Act, 15 U.S.C. § 1, by entering into unlawful “no-

poach” agreements pursuant to which defendants agreed to not hire or solicit each

other’s employees. Defendants, who are railway equipment suppliers and their

subsidiaries, filed a joint motion to (a) dismiss the consolidated class action complaint

under Federal Rule of Civil Procedure 12(b)(6), and (b) strike the class action

allegations under Federal Rule of Civil Procedure 12(f) (ECF No. 124). Plaintiffs oppose

the motion. (ECF No. 152.)




1      Plaintiffs Stephen Baldassano (“Baldassano“), John Brand (“Brand”), David
Escalera (“Escalera”), Brian Lara (“Lara”), and Patricia Lonergan (“Lonergan”) in this
opinion will be collectively be referred to as “plaintiffs.”

2       Defendants Westinghouse Air Brake Technologies Corporation (“Wabtec”),
Wabtec Railway Electronics, Inc., Ricon Corporation (“Ricon”), Railroad Controls, L.P.,
Xorail Inc., Faiveley Transport, S.A. (“Faiveley”), Faiveley Transport North America Inc.
(“Faiveley N.A.”), Knorr-Bremse AG (“Knorr”), Knorr Brake Company LLC (“Knorr
Brake”), New York Air Brake LLC (“NY Air Brake”), and Bendix Commercial Vehicle
Systems LLC (“Bendix”) in this opinion will be collectively referred to as “defendants.”
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         The parties dispute whether the rule of reason or per se violation analysis should

be applied to defendants’ alleged “no-poach” agreements and whether the factual

allegations in the consolidated complaint are sufficient to show plausibly that beginning

at least in in 2009 all defendants were engaged in a conspiracy in violation of the

antitrust laws. The parties also dispute whether the allegations in the consolidated class

action complaint are sufficient to show that it is possible for plaintiffs to satisfy their

burden at the class certification stage with respect to the Federal Rule of Civil

Procedure 23 requirements of typicality and predominance.

         For the reasons set forth in this opinion, the motion to dismiss will be granted in

part and denied in part. The court agrees with plaintiffs that the no-poach agreements

as plead in the consolidated complaint, i.e., plead as market allocation agreements that

were not ancillary to any other agreements with proper business purposes, may be

considered per se violations of § 1. Thus, plaintiffs were not required to set forth factual

allegations sufficient to show plausibly the relevant market in which the antitrust impact

occurred. The motion to dismiss will be denied without prejudice with respect to this

issue.

         The court, however, agrees with defendants that plaintiffs failed to set forth

factual allegations to show plausibly that all defendants were engaged in an overarching

“no-poach” conspiracy from 2009. At best, plaintiffs plead three bilateral conspiracies,

which plausibly culminated in an overarching conspiracy among all defendants

beginning at the earliest in 2014 when Wabtec and Faiveley N.A. entered into the third

bilateral no-poach agreement. Plaintiffs did not set forth factual allegations sufficient

plausibly to show that Ricon or Bendix were participants in the overarching conspiracy



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or any of the bilateral conspiracies. The motion to dismiss will, therefore, be granted

without prejudice with respect to plaintiffs’ allegations that beginning in at least 2009 all

defendants were engaged in a “no-poach” conspiracy in violation of the antitrust laws

and with respect to all allegations against Ricon and Bendix.

          With respect to defendants’ motion to strike class allegations, plaintiffs in the

consolidated class action complaint did not allege sufficient facts to make a prima facie

showing that the predominance requirement of Rule 23 is satisfied or that discovery is

likely to produce substantiation of plaintiffs’ allegations with respect to predominance.

Plaintiffs in the consolidated class action complaint allege that defendants conspired to

restrict the hiring and soliciting of all their employees. Plaintiffs, however, did not set

forth factual allegations sufficient to make a prima facie showing that defendants’

agreements caused all employees of defendants harm (antitrust impact) that can be

proven on a class-wide basis or that discovery will likely substantiate plaintiffs’

conclusory allegations that the common issues in this case will predominate over the

individual questions raised by plaintiffs’ proposed class of all employees. Even if

plaintiffs satisfied their burden at this stage with respect to the Rule 23 requirement of

predominance, their class definition is overbroad and lacks precision. The motion to

strike class allegations will, therefore, be granted without prejudice to plaintiffs filing a

motion for leave to file an amended consolidated class action complaint.

   II.      Procedural History

         On October 12, 2018, plaintiffs filed a one-count consolidated class action

complaint against defendants. (ECF No. 88.) On November 27, 2018, all defendants

filed a joint motion to dismiss for failure to state a claim and to strike class action



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allegations and a brief in support of the motion. (ECF Nos. 124, 129.) On January 11,

2019, plaintiffs filed a response in opposition to the motion to dismiss. (ECF No. 152.)

On January 25, 2019, the United States Department of Justice (“DOJ” or the

“government”) filed a “Notice of Intent to File a Statement of Interest.” (ECF No. 155.)

On February 8, 2019, the government filed its statement of interest. (ECF No. 158.) On

February 13, 2019, defendants file a reply brief in support of their motion. (ECF No.

165.) On February 22, 2019, plaintiffs filed a notice of supplemental authority. (ECF No.

172.)

          On February 25, 2019, the court held a hearing on the joint motion to dismiss and

strike class action allegations. (Hearing Transcript (“H.T.”) 2/25/2019 (ECF No. 176).)

The government with leave of court participated in the hearing. (Id.; ECF Nos. 168,

171.) The court heard from the parties and the government, ordered the transcript at

the joint cost of the parties, and took the matter under advisement.

          On June 3, 2019, plaintiffs filed a second notice of supplemental authority. (ECF

No. 189.) On June 5, 2019, defendants filed a response to plaintiffs’ notice of

supplemental authority. (ECF No. 190.)

   III.      Factual Allegations in the Consolidated Class Action Complaint which
             are Accepted as True for the Purpose of Resolving the Motion to
             Dismiss

          A. General Allegations

          The named plaintiffs are former employees of defendants. (ECF No. 88 ¶ 1.)

Plaintiffs allege that defendants were “among the world’s dominant rail equipment

suppliers” and members of a conspiracy “to restrain competition and reduce

compensation for railway industry employees.” (Id.) Wabtec, Knorr, and their respective



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co-defendant subsidiaries “are the largest suppliers of rail equipment used in freight and

passenger rail applications.” (Id. ¶ 2.)

       B. Plaintiffs

       Baldassano was employed by defendant Knorr Brake from approximately March

1998 to December 2012, and from approximately January 2017 to October 2017. (ECF

No. 88 ¶ 12.) Baldassano performed his duties as a Project Manager and Manager of

Systems and Sales for Knorr Brake in Maryland. (Id.)

       Brand was employed by defendant NY Air Brake, a wholly-owned subsidiary of

Knorr, as a Senior Manager of Systems and Software Engineering from approximately

May 2013 to August 2016. (Id. ¶¶ 13, 26.) Brand performed his duties as a NY Air Brake

employee in Texas. (Id.)

       Escalera was employed by Wabtec as a Field Service Technician from

approximately July 2011 to January 2015, in California. (Id. ¶ 14.)

       Lara was employed by Wabtec as a Machinist from approximately November 2011

to January 2017. (ECF No. 88 ¶ 15.) Lara performed his duties as a Wabtec employee in

Pennsylvania. (Id.)

       Longergan was employed by Wabtec as a Positive Train Control Manager from

approximately October 2013 to April 2015. (Id. ¶ 16.) Lonergan performed her duties as

a Wabtec employee in Colorado. (Id.)

       C. The Wabtec Defendants

       Wabtec has more than 100 subsidiaries and more than 18,000 employees. It is

the world’s largest provider of rail equipment and services with global sales of $3.9

billion in 2017. (ECF No. 88 ¶ 17.) Wabtec Passenger Transit is a business unit of



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Wabtec that develops, manufactures, and sells rail equipment and services for

passenger rail applications. (Id.) Wabtec Global Services is a business unit of Wabtec

that offers maintenance, repair, and support services. (Id.)

       Wabtec Railway Electronics, Inc. is a wholly-owned subsidiary of Wabtec that

designs, develops, manufactures, and repairs electronic products used to improve

railroad operations and safety. (ECF No. 88 ¶ 18.)

       Ricon is a wholly-owned subsidiary of Wabtec that designs and manufactures

wheelchair lifts and ramps for commercial, paratransit, transit, motorcoach, and

passenger rail vehicles. (Id. ¶ 19.)

       Railroad Controls, L.P. is a wholly-owned subsidiary of Wabtec and one of the

largest railroad signal construction companies in the United States. (Id. ¶ 20.)

       Xorail Inc. is a wholly-owned subsidiary of Wabtec and provides railroad signal

engineering and design services. (Id. ¶ 21.)

       On November 30, 2016, Faiveley was acquired as a wholly-owned subsidiary of

Wabtec. (ECF No. 88 ¶ 22.) Before the acquisition, Faiveley was the world’s third-

largest rail equipment supplier behind Wabtec and Knorr. (Id.) Faiveley had employees

in twenty-four countries, including at six locations in the United States. (Id.) It

developed, manufactured, and sold passenger and freight rail equipment to customers

in Europe, Asia, and North America, including the United States, with revenues of

approximately €1.2 billion in 2016. (Id.)

       Faiveley N.A. was a wholly-owned subsidiary of Faiveley prior to Faiveley’s

acquisition by Wabtec. (ECF No. 88 ¶ 23.) Prior to Wabtec’s acquisition of Faiveley,




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Faiveley conducted business in the United States primarily through Faiveley N.A. (Id.)

Faiveley N.A. is now a wholly-owned subsidiary of Wabtec. (Id.)

       D. The Knorr Defendants

       Knorr is a privately-owned German company and the world’s second largest

provider of rail and commercial vehicle equipment. (ECF No. 88 ¶ 24.) In 2017, Knorr

had annual revenues of approximately $7.7 billion. (Id.) Knorr has several wholly-owned

subsidiaries in the United States. (Id.)

       Knorr Brake is a wholly-owned subsidiary of Knorr and manufactures train

control, braking, and door equipment used on passenger rail vehicles. (ECF No. 88 ¶

25.)

       NY Air Brake is a wholly-owned subsidiary of Knorr and manufactures railway air

brakes and other rail equipment used on freight trains. (Id. ¶ 26.)

       Bendix is a wholly-owned subsidiary of Knorr and develops and supplies active

safety technologies, air brake charging and control systems, and components for

commercial vehicles. (ECF No. 88 ¶ 27.) Bendix served as a recruiter for Knorr. (Id.)

       E. Competition for Employees Among Rail Equipment Suppliers

       Wabtec and Knorr, top rivals in the development, manufacture, and sale of

equipment used in freight and passenger rail applications, are some of the largest

employers 3 in the rail industry. (ECF No. 88 ¶¶ 29-30.) They compete with each other to

hire and retain employees throughout the United States, i.e., lateral hiring is a key form



3     For example, by the end of 2017, Wabtec and its subsidiaries employed
approximately 18,000 full-time employees worldwide. (ECF No. 88 ¶ 30.) In 2016, Wabtec
added approximately 5,700 employees through the acquisition of Faiveley. (Id.) By the
end of 2017, Knorr and its subsidiaries employed approximately 27,700 employees
worldwide, including approximately 5,000 employees in the Americas. (Id.)
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of competition between Wabtec and Knorr. (Id. ¶¶ 2, 35.) There is high demand for and

limited supply of skilled employees who have rail industry experience. (Id. ¶ 31.) Critical

jobs in the rail industry can remain vacant for months while firms try to recruit and hire

individuals with the requisite skills, training, and experience for a job opening. (Id.)

Employees within the rail industry are key sources of potential talent to fill these

openings. (Id.)

       Defendants employ a variety of recruiting techniques, including using internal and

external recruiters and staffing agencies to identify, solicit, recruit, and otherwise help

hire employees. (ECF No. 88 ¶ 32.) Defendants also receive direct applications from

individuals interested in employment opportunities. (Id.) Directly soliciting employees

from other rail industry employers is a particularly efficient and effective method of

competing for qualified employees. (Id. ¶ 33.) Soliciting involves communicating

directly—whether by phone, e-mail, social or electronic networking, or in person—with

another firm’s employee who has not otherwise applied for a job opening. (Id.) Direct

solicitation can be performed by individuals of the company seeking to fill the position or

by outside recruiters retained to identify potential employees on the company’s behalf.

(Id.) Firms in the rail industry rely on direct solicitation of employees of other rail

companies because those individuals have the specialized skills necessary and may be

unresponsive to other methods of recruiting. (ECF No. 88 ¶ 33.)

       In a properly functioning and lawfully competitive labor market, rail industry

employers compete with one another to attract highly-skilled talent for their employment

needs. (Id. ¶ 34.) The competition benefits employees because it increases the

available job opportunities and improves an employee’s ability to negotiate for a better



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salary and other terms of employment. (Id.) By soliciting and hiring employees from

other rail industry employers, a company is able to take advantage of the efforts its rival

has expended in identifying and training the employees, while simultaneously inflicting a

cost on the rival by removing an employee on whom the rival may depend. (ECF No. 88

¶ 35.) By contrast, hiring employees directly out of a training program comes with none

of those benefits, and the hiring institution must invest significant resources in

identifying, assessing, and training new employees. (Id.)

       Plaintiffs allege that the competition between employers, e.g., Wabtec and Knorr

and their subsidiaries, for employees provides significant benefits to the employees.

Plaintiffs explain:

       Competition for workers via lateral hiring has a significant impact on
       compensation in a variety of ways. First, when employers become aware of
       attractive outside opportunities for their employees, the threat of losing
       employees to competitors encourages employers to preemptively increase
       compensation to increase morale, productivity, and retention. If employers
       do not react to competition, their employees may seek positions that offer
       more generous compensation and benefits elsewhere, be receptive to
       recruiting by a rival employer, and/or reduce their productivity and morale.
       Once an employee has received an offer from a rival, retaining the
       employee may require a disruptive increase in compensation for one
       individual, if retention is possible at all, and cascading (and unplanned)
       pressures on compensation of other employees where internal equity and
       fair pay analysis would demand similar raises. Employers therefore have an
       incentive to preempt lateral departures by paying all employees well enough
       that they are unlikely to seek or pursue outside opportunities. Preemptive
       retention measures thus lead to increased compensation for all employees.
                                             …
       The availability of desirable positions at competing employers also forces
       employers to reactively increase compensation to retain employees who
       are likely to join a competitor. This can occur both when a particular
       employee or group of employees becomes interested in switching
       employers and the current employer responds by offering a compensation
       increase to retain them, or when an employer responds to overall attrition
       rates among its employees by increasing compensation levels. In the former
       case, even a targeted increase designed to retain specific employees may
       put upward pressure on the entire compensation structure.


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                                              …
       Because many rail industry workers are highly specialized and integrated
       into teams tied to specific functions, some workers who move to positions
       at different companies may bring with them others from their teams. Just as
       competition forces employers to preemptively or reactively raise
       compensation to retain employees who might otherwise seek employment
       elsewhere, it also encourages increased compensation for related workers.
       Thus, increased movement of one category of employee not only increases
       the compensation for those employees, but also for the categories of
       employees who are likely to also seek parallel lateral positions, with similar
       higher compensation and benefits.
                                              …
       The positive compensation effects of hiring employees from competitors are
       not limited to the particular individuals who are solicited or who seek new
       employment. Instead, the effects of hiring from competitors (and the effects
       of eliminating lateral hiring, pursuant to agreement) commonly impact all
       employees of the participating companies.

(ECF No. 88 ¶¶ 39-36.)

       F. Defendants’ No-Poach Agreements 4

       Beginning at least in 2009, Wabtec and Knorr allegedly entered into a no-poach

agreement (ECF No. 88 ¶ 43.) No later than 2011, Knorr and Faiveley (prior to

Faiveley’s acquisition by Wabtec) allegedly entered into a no-poach agreement. (Id. ¶

49.) Finally, no later than January 2014, Wabtec and Faiveley N.A. (prior to Faiveley’s

acquisition in 2016 by Wabtec) allegedly entered into a no-poach agreement. (Id. ¶ 53.)

The agreements were executed and enforced by the companies’ senior executives and

included the companies’ subsidiaries in the United States. (Id. ¶ 41.) According to

plaintiffs, the companies agreed to refrain from soliciting or hiring each other’s

employees without the consent of the current employer in order to: (a) fix compensation




4      The descriptions of the agreements and their import are taken from the
consolidated class action complaint. The court expresses no opinion about the merits of
those allegations.


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of plaintiffs at artificially low levels; and (b) substantially eliminate competition among

defendants for rail industry employees. (Id. ¶¶ 3, 77.) According to plaintiffs, the

agreements are per se violations of antitrust law. (Id. ¶ 79.)

       The agreements spanned several years and were monitored and enforced by

executives of defendants. (ECF No. 88 ¶ 3.) The agreements substantially affected

interstate commerce for employee services by causing: competition to be reduced for

employees; suppressed employee compensation below competitive levels; employees

to be denied access to better job opportunities; employee mobility to be restricted; and

employees to be deprived of information they could use to negotiate for better terms of

employment. (Id. ¶¶ 5-6, 58.) Plaintiffs allege that defendants concealed 5 their

conspiracy and anti-competitive conduct. (ECF No. 88 ¶¶ 59-64.) On April 3, 2018,

however, the conspiracy was publicly revealed with an announced action and proposed

stipulated judgment by the DOJ. (Id. ¶ 7.)



5      Plaintiffs allege:

       Knowledge of the agreements was closely held by senior executives and
       recruiters of the Defendant companies who relied on direct and non-public
       communications with one another to manage and enforce the no-poach
       agreements, including in-person discussions and private email
       communications.
                                             …
       Defendants devised internal procedures by which implicated applicants
       could be discreetly flagged. Once flagged, the company President decided
       whether to seek permission from the rival company to hire the individual.
       The applicant was not told, much less consulted, about this process.
                                             …
       Knorr’s policies stated that it was committed to fair competition.
                                             …
       Wabtec’s policies provided that it was committed to respecting its
       employees and the fair and equitable treatment of employees.

(ECF No. 88 ¶¶ 60-63.)
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      G. Class Allegations

      The proposed class is defined as follows:

      All natural persons employed by, or hired through staffing agencies or
      vendors to work for, Defendants or their wholly owned subsidiaries, in the
      United States, at any time from the start of the conspiracy (no later than
      2009) to the present. Excluded from the class are senior executives and
      personnel in the human resources, recruiting, and legal departments of the
      Defendants, and employees hired outside of the United States to work
      outside of the United States.

(ECF No. 88 ¶ 65.)

      Plaintiffs allege:

         -   there are “thousands of Class members;”

         -   the class is ascertainable from defendants’ records;

         -   their claims are typical of the claims of the proposed class;

         -   they will fairly and adequately represent the interests of the proposed
             class and have no conflict with the interests of the proposed class;

         -   the counsel has experience in antitrust, employment, and class
             action litigation; and

         -   class action is superior to any other form for resolving this litigation.

(ECF No. 88 ¶¶ 66-70, 74.)

      Plaintiffs identify the following questions of law and fact that are common to the

members of the proposed class and predominate over any questions affecting only

individual members of the proposed class:

         -   whether Defendants agreed not to solicit or hire each other’s
             employees;

         -   whether such agreements were per se violations of the Sherman Act;

         -   whether Defendants fraudulently concealed their misconduct;




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            -   whether and the extent to which Defendants’ conduct suppressed
                compensation below competitive levels for railway employees;

            -   whether Plaintiffs and the Proposed Class suffered antitrust injury as
                a result of Defendants’ agreements;

            -   the type and measure of damages suffered by Plaintiffs and the
                Proposed Class; and

            -   the nature and scope of injunctive relief necessary to restore a
                competitive market.

(ECF No. 88 ¶ 71.)

         H. Damages

         Plaintiffs in the consolidated class action complaint seek the following relief:

            -   threefold the damages determined to have been sustained by them
                as a result of the conduct of defendants;

            -   the costs of suit, including reasonable attorneys’ fees and expenses,
                prejudgment interest, and post-judgment interest;

            -   injunctive relief, declaring the no-hire agreement among Defendants
                unlawful and enjoining defendants from enforcing the agreement or
                entering into similar agreements going forward; and

            -   all other relief to which plaintiffs and the class may be entitled at law
                or in equity.

(ECF No. 88 at 20-21 ¶¶ A-F.)

   IV.      Discussion

            A. Motion to Dismiss

            1. Standard of Review

         A motion to dismiss filed pursuant to Federal Rule of Civil Procedure 12(b)(6) tests

the legal sufficiency of the complaint. Kost v. Kozakiewicz, 1 F.3d 176, 183 (3d Cir. 1993).

In deciding a motion to dismiss, the court is not opining on whether the plaintiff will be

likely to prevail on the merits; rather, when considering a motion to dismiss, the court

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accepts as true all well-pled factual allegations in the complaint and views them in a light

most favorable to the plaintiff. U.S. Express Lines Ltd. v. Higgins, 281 F.3d 383, 388 (3d

Cir. 2002). While a complaint does not need detailed factual allegations to survive a Rule

12(b)(6) motion to dismiss, a complaint must provide more than labels and conclusions.

Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 555 (2007). A “formulaic recitation of the

elements of a cause of action will not do.” Id. (citing Papasan v. Allain, 478 U.S. 265, 286

(1986)). “Factual allegations must be enough to raise a right to relief above the

speculative level” and “sufficient to state a claim for relief that is plausible on its face.” Id.

“A claim has facial plausibility when the plaintiff pleads factual content that allows the

court to draw the reasonable inference that the defendant is liable for the misconduct

alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (citing Twombly, 550 U.S. at 556).

       The plausibility standard is not akin to a “probability requirement,” but it asks
       for more than a sheer possibility that a defendant has acted unlawfully.. . .
       Where a complaint pleads facts that are “merely consistent with” a
       defendant’s liability, it “stops short of the line between possibility and
       plausibility of ‘entitlement to relief.’”

(Id.) (quoting Twombly, 550 U.S. at 556) (internal citations omitted).

       The Court of Appeals for the Third Circuit has instructed that “a court reviewing the

sufficiency of a complaint must take three steps.” Connelly v. Lane Constr. Corp., 809

F.3d 780, 787 (3d Cir. 2016). The court of appeals explained:

       First, it must “tak[e] note of the elements [the] plaintiff must plead to state a
       claim.” Iqbal, 556 U.S. at 675. Second, it should identify allegations that,
       “because they are no more than conclusions, are not entitled to the
       assumption of truth.”Id. at 679. See also Burtch v. Milberg Factors, Inc., 662
       F.3d 212, 224 (3d Cir.2011) (“Mere restatements of the elements of a claim
       are not entitled to the assumption of truth.”(citation and editorial marks
       omitted)). Finally, “[w]hen there are well-pleaded factual allegations, [the]
       court should assume their veracity and then determine whether they
       plausibly give rise to an entitlement to relief.” Iqbal, 556 U.S. at 679.



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Id. “Determining whether a complaint states a plausible claim for relief will…be a context-

specific task that requires the reviewing court to draw on its judicial experience and

common sense.” Iqbal, 556 U.S. at 679 (citing Iqbal v. Hasty, 490 F.3d 143, 157-58 (2d

Cir. 2007)). A plaintiff must set forth “sufficient factual allegations to raise a reasonable

expectation that discovery will reveal evidence” of the elements of the claim for relief.

Connelly, 809 F.3d at 789; Trzaska v. L’Oreal USA, Inc., 865 F.3d 155, 162 (3d Cir. 2017).

          2. Plausibility of claim for a per se violation of § 1 of the Sherman Act

       “To establish an actionable antitrust violation, a plaintiff must show concerted

action by the defendants, that this concerted action resulted in a restraint on trade, and

that this restraint was unreasonable.” In re Processed Egg Prod. Antitrust Litig., 206 F.

Supp. 3d 1033, 1043 (E.D. Pa. 2016) (citing 15 U.S.C. § 1; Santana Prod., Inc. v. Bobrick

Washroom Equip., Inc., 401 F.3d 123, 131 (3d Cir. 2005)). “‘To sufficiently plead an

unreasonable restraint, a plaintiff must include allegations showing that the restraint will

fail under one of three rules of analysis: the rule of reason, per se, or quick look.’” Aya

Healthcare Servs., Inc. v. AMN Healthcare, Inc., Civ. Action No. 17-205, 2018 WL

3032552, at *8 (S.D. Cal. June 19, 2018) (quoting United States v. eBay, Inc., 968 F.

Supp. 2d 1030, 1037 (N.D. Cal. 2013)).

       a. Rule of Reason

       “The ‘rule of reason’ standard is more than a default rule that the courts will apply

when evaluating the lawfulness of a challenged business practice.” In re Processed Egg,

206 F.Supp.3d at 1044 (citing Broad. Music, Inc. v. Columbia Broad. Sys., Inc., 441 U.S.

1, 8 (1979)). In a rule of reason case, the plaintiff must prove:

       “(1) that the defendants contracted, combined or conspired among each
       other; (2) that the combination or conspiracy produced adverse, anti-


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       competitive effects within the relevant product and geographic
       markets; (3) that the objects of and the conduct pursuant to that contract or
       conspiracy were illegal; and (4) that the plaintiffs were injured as a
       proximate result of that conspiracy.”

Rossi v. Standard Roofing, Inc., 156 F.3d 452, 464-65 (3d Cir. 1998) (quoting Tunis Bros.

Co., Inc. v. Ford Motor Co., 763 F.2d 1482, 1489 (3d Cir. 1985)) (emphasis added). Thus,

to state plausibly a rule of reason claim under the antitrust laws, the plaintiff must plausibly

plead, among other things, a definition of the relevant market. Int'l Constr. Prod. LLC v.

Caterpillar Inc., No. CV 15-108-RGA, 2016 WL 4445232, at *4 (D. Del. Aug. 22, 2016);

MBR Const. Servs., Inc. v. City of Reading, No. 11-CV-07218, 2012 WL 4478384, at *8

n.37 (E.D. Pa. Sept. 28, 2012).

       b. Per Se

       “[C]ertain agreements or practices are so ‘plainly anticompetitive’ and so often lack

any redeeming virtue that they are conclusively presumed anticompetitive per se, without

need for further examination.” In re Processed Egg, 206 F.Supp.3d at 1044 (quoting

Broad. Music, Inc. v. Columbia Broad. Sys., Inc., 441 U.S. 1, 8 (1979)). The Third Circuit

Court of Appeals has explained:

                 A restraint among competitors—called “horizontal,” as opposed to
       “vertical” restraints on market participants at different points in a product’s
       supply chain—is more rigorously scrutinized for an antitrust violation
       because it could more easily facilitate competitive harms, such as the
       exclusion of rivals, price fixing, or the consolidation of market power. See
       Areeda & Hovenkamp, Fundamentals, supra, § 14.11[A].

              In particular, “when a firm exercises monopsony power pursuant to
       a conspiracy, its conduct is subject to more rigorous scrutiny ....” West
       Penn, 627 F.3d at 103. “[U]nlike independent action, concerted activity
       inherently is fraught with anticompetitive risk insofar as it deprives the
       marketplace of independent centers of decisionmaking that competition
       assumes and demands.” Id. (internal quotation marks omitted).




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               Indeed, some horizontal restraints, including price fixing and market
       division, are considered anticompetitive by their very nature. NYNEX Corp.,
       525 U.S. at 133-34, 119 S.Ct. 493 (citing United States v. Socony-Vacuum
       Oil Co., 310 U.S. 150, 218, 60 S.Ct. 811, 84 L.Ed. 1129 (horizontal price-
       fixing), and Palmer v. BRG of Ga., Inc., 498 U.S. 46, 49-50, 111 S.Ct. 401,
       112 L.Ed.2d 349 (1990) (per curiam) (horizontal market division) ). These
       are treated as per se Sherman Act Section 1 violations. Id.

Lifewatch Servs. Inc. v. Highmark Inc., 902 F.3d 323, 335-36 (3d Cir. 2018). The per se

violation condemnation of an antitrust claim lightens a plaintiff’s litigation burden. In re

Processed Egg, 206 F.Supp.3d at 1051. “[T]he significance of a per se analysis is that

the Court presumes the anticompetitive and unlawful character of the agreement which

must otherwise be proven under the rule of reason.” Id. at 1052. If, however, “the plaintiff

chooses to so limit his claims, and the Court holds on summary judgment that per se

treatment of the restraint is improper, he risks the possibility that his claim may be

dismissed.” Id. at 1051.

       c. Quick Look

       A horizontal restraint may “facilitate the creation of new products, improve

efficiencies, or lead to lower consumer costs[,]” and, thus, may not be “clearly harmful to

competition.” Lifewatch, 902 F.3d at 336. Id. Under those circumstances, the horizontal

restraint is not per se unreasonable and would be “analyzed under some form…of a ‘rule

of reason’ burden-shifting framework, which seeks to determine whether the restraint’s

harmful effects are outweighed by any procompetitive justifications and, if so, whether

there are less restrictive alternatives.” Id. A complete rule of reason analysis in those

circumstances is not always warranted; rather, a “quick look” analysis may be conducted.

The Third Circuit Court of Appeals has explained:

              A quick look “presum[es] competitive harm without detailed market
       analysis” because “the anticompetitive effects on markets and consumers


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       are obvious.” Deutscher Tennis Bund, 610 F.3d at 832. It is inappropriate if
       “ ‘the contours of the market’ ... are not ‘sufficiently well-known or defined
       to permit the court to ascertain without the aid of extensive market analysis
       whether the challenged practice impairs competition ....’ ” Id. (quoting
       Worldwide Basketball & Sport Tours, Inc. v. Nat’l Collegiate Athletic Ass’n.,
       388 F.3d 955, 961 (6th Cir. 2004) ).

Lifewatch, 902 F.3d at 336 n.8. In other words, a quick look analysis falls between the

rule of reason and per se condemnation. eBay, 968 F.Supp.2d at 1037.

       d. Application of Per Se Analysis

       Here, defendants argue that plaintiffs’ claim should be dismissed because the

claim is subject to a rule of reason analysis and plaintiffs did not allege the relevant market

in the consolidated class action complaint. (ECF No. 124-1 at 9.) Plaintiffs respond that

they adequately alleged a per se violation of the antitrust laws, and, therefore, they are

not required to plead a relevant market. (ECF No. 152 at 13-19.) At this stage of the

proceedings, plaintiffs have the better view on this issue.

       One treatise has recognized that a growing number of courts are using a two-step

analysis to determine whether an alleged antitrust violation is per se unreasonable and

explained:

              [T]he court first asks whether the challenged conduct truly involves a
       “horizontal” restraint between actual or potential competitors allocating
       markets or customers, reducing output, or otherwise restricting competition
       between them, and, if so, whether the restraint is devoid of plausible
       procompetitive justification (i.e., is “naked”) or is instead plausibly ancillary
       and necessary to some larger, procompetitive integrative activity.

              If the answer to the first question is “no,” then the restraint is
       assessed under the rule of reason as a vertical nonprice restraint. If the
       answer to the first question is “yes,” and the restraint is naked (either
       because no justification is put forth, or because the one presented is simply
       not credible), then the per se rule is applied.

             If, however, it appears plausible that the restraint is ancillary and
       necessary to achieve some larger procompetitive activity or other legally

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       protected objective, such that the restraint cannot be said to be manifestly
       anticompetitive, then the more flexible rule of reason (or at least the quick
       look) is applied.

WILLIAM HOMES & MELISSA MANGIARACINA, ANTITRUST LAW HANDBOOK § 2:13 (2018-2019

ed.) (footnotes omitted).

       In this case, based upon the allegations in the consolidated class action complaint,

the answer to the first question, i.e., whether the challenged conduct truly involves a

“horizontal” restraint between actual or potential competitors allocating markets or

customers, reducing output, or otherwise restricting competition between them, would be

“yes.” The Supreme Court of the United States has explained: “One of the classic

examples of a per se violation of § 1 is an agreement between competitors at the same

level of the market structure to allocate territories in order to minimize competition.” United

States v. Topco Assocs., Inc., 405 U.S. 596, 608 (1972). “Antitrust law does not treat

employment markets differently from other markets.” eBay, 968 F.Supp.2d at 1039.

Indeed, one treatise has explained: “An agreement among employers that they will not

compete against each other for the services of a particular employee or prospective

employee is, in fact, a service division agreement, analogous to a product division

agreement.” XII PHILLIP E. AREEDA & HERBERT HOVENKAMP, ANTITRUST LAW ¶ 2013b at 148

(3d ed. 2012).

       Here, plaintiffs allege that Wabtec, Knorr, and Faiveley N.A. along with their

subsidiaries were the largest railroad industry suppliers, i.e., they were at the same level

of the market, and they agreed to not hire each other’s employees, i.e., they entered into

an agreement to allocate their employees to minimize competition for the employees.




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Thus, plaintiffs plausibly alleged that defendants’ agreements constituted horizontal

restraints of competition with respect to defendants’ employees.

       Plaintiffs also plausibly alleged that defendants’ horizontal product division

agreements are “naked agreements.” A naked agreement is an agreement “among

competitors with no plausible efficiency justifications.” 1 JOHN J. MILES, HEALTH CARE &

ANTITRUST LAW § 3:2 (2018). Plaintiffs in the consolidated class action complaint do not

allege any basis upon which the court could reasonably infer that the agreements had

any procompetitive results or were somehow ancillary to a proper business dealing or

purpose. Under those circumstances, plaintiffs plausibly alleged that the “no-poach”

agreements described in the consolidated class action complaint were horizontal service

division agreements, which, like product division agreements would be, are per se

unlawful under the antitrust laws. Plaintiffs, therefore, are not required to plead the

requirements of a rule of reason analysis, e.g., relevant market.

       The court’s decision that the agreements alleged by plaintiff are plausibly per se

violations of the antitrust laws is supported by the case law and the position of the DOJ,

which was articulated by the government at the hearing on the motion to dismiss. Other

courts 6 that have considered similar “no-poach” agreements have held that the



6      Plaintiffs in the notice of supplemental authority cite Conrad v. Jimmy John’s
Franchise, LLC, Case No. 3:18-cv-00133-NJR-RJD (S.D. Ill. May 21, 2019) (ECF No.
189-1), and Blanton v. Domino’s Pizza Franchising LLC, Case No. 2:18-cv-13207-VAR-
DRG (E.D. Mich. May 24, 2019) (ECF No. 198-2). Plaintiffs attached the Conrad and
Blanton decisions to their notice of supplemental authority. The court will, therefore, use
this case’s ECF docket citation when discussing each of those decisions.
       In Conrad, the plaintiff sued the defendants under the Sherman Act for their
alleged “practice of including no-poach clauses in its franchise contracts.” (ECF No.
189-1 at 2.) The defendants filed a motion to dismiss, which was denied with respect to
the plaintiff’s Sherman Act claim. (Id. at 3.) The judge presiding over the case at the
time held that plaintiff stated a plausible Sherman Act claim and the court could not
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agreements may be per se violative of the antitrust laws. For example, in United States

v. Kemp & Associates, Inc., Crim. Action No. 16-403, 2019 WL 763796 (D. Utah Feb. 21,

2019), the defendant was charged in a criminal indictment with criminal conspiracy in

violation of § 1 for entering into a horizontal customer allocation agreement. The district

court held that the agreement in issue should be subject to a rule of reason analysis and

dismissed the indictment as barred by the statute of limitations. The government

appealed. The Court of Appeals for the Tenth Circuit held that: (1) the indictment was not

barred by the statute of limitations; and (2) it did not have interlocutory appellate

jurisdiction to review the district’s court’s decision to apply the rule of reason analysis to

the charge in the indictment and mandamus was not warranted with respect to that issue.




decide at the pleading stage of the litigation which analysis would apply to the case, i.e.,
the rule of reason, the per se approach, or the quick look analysis. (Id. at 3-4.) The
judge then retired and the case was reassigned. The defendants filed another motion to
dismiss that was “extremely similar to the one that the prior judge already adjudicated.”
(Id. at 2.) The newly assigned judge applied the law of the case doctrine and denied the
defendant’s motion to dismiss the complaint. (Id. at 6.)
        In Blanton, the plaintiff alleged that the defendants “violated the Sherman
Antitrust Act by orchestrating an employee no-hire agreement among their nationwide
network of franchisees.” (ECF No. 189-2 at 2.) The defendant filed a motion to dismiss
and argued that the plaintiff failed to state a § 1 claim under the rule of reason. The
court disagreed; it held that plaintiff stated a plausible § 1 claim and that the plaintiff’s
failure to apply the rule of reason was not fatal to his claim. The court explained that
“[m]ore factual development…[was] necessary[,]” and at that stage the plaintiff set forth
factual allegations sufficient to show plausibly he was entitled to relief under § 1. (Id. at
10.)
        Defendants argue that the court should disregard plaintiffs’ notice of
supplemental authority because the courts in the foregoing decisions did not hold that
horizontal no-poach agreements are always subject to the per se rule. (ECF No. 190 at
1.) The court finds Conrad and Blanton persuasive to the extent the courts in those
decisions held that the plaintiffs set forth factual allegations sufficient from which the
court could plausibly infer that the per se rule would apply, and, therefore, the plaintiffs
were not required to plead a rule of reason analysis in their complaints. The court
agrees with defendants that the courts in those decisions did not hold that all horizontal
no-poach agreements will be per se violative of the antitrust laws.
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United States v. Kemp & Assocs., Inc., 907 F.3d 1264, 1272, 1276 (10th Cir. 2018). The

court of appeals, however, cautioned the district court:

               To be sure, were the merits of the rule of reason order before us we
       might very well reach a different conclusion than did the district court. After
       all, “an agreement to allocate or divide customers between competitors
       within the same horizontal market, constitutes a per se violation of § 1 of
       the Sherman Act,” Suntar Roofing, Inc., 897 F.2d at 473 (10th Cir. 1990),
       and Defendants' efforts to distinguish their agreement from a traditional
       customer allocation agreement are mostly unpersuasive. Despite
       Defendants' arguments otherwise, it is immaterial whether a customer
       allocation agreement applies to new or existing customers, Palmer v. BRG
       of Georgia, Inc., 498 U.S. 46, 49–50, 111 S.Ct. 401, 112 L.Ed.2d 349
       (1990), and there is no rule that allocation agreements are only subject to
       the per se rule if customers are divided geographically, see United States
       v. Cadillac Overall Supply Co., 568 F.2d 1078, 1088 (5th Cir. 1978). Nor
       does it matter that the alleged agreement would only affect a small number
       of potential customers, cf. United States v. Reicher, 983 F.2d 168, 170 (10th
       Cir. 1992) (holding that a conspiracy to rig a single bid, and therefore affect
       only a single customer, is subject to per se analysis), and any lack of judicial
       familiarity with the Heir Location Services industry is largely irrelevant,
       Arizona v. Maricopa Cty. Med. Soc'y, 457 U.S. 332, 346, 102 S.Ct. 2466,
       73 L.Ed.2d 48 (1982).

Id. at 1277.

       After the case was remanded, the government filed a motion for reconsideration

of the district court’s decision to dismiss the indictment because of the rule of reason

analysis. Kemp, 2019 WL 763796, at *1. The court granted the motion for

reconsideration and held that the per se approach was applicable in the case. The court

explained that the agreement in issue was a horizontal customer allocation agreement,

which is subject to the per se approach, and it could not discern any basis upon which

to find the per se approach inapplicable to the case. Id. at *2-3.

       In AYA Healthcare v. AMN Healthcare, Civ. Action No. 17-205-MMA, 2018 WL

3032552 (S.D. Cal. June 19, 2018), the plaintiffs sued the defendants under § 1. The

plaintiffs and the defendants sold medical-traveler services to hospitals, i.e., they provided

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nurses to understaffed hospitals around the United States. The defendants were the

dominate providers of the nurses in the country and employed other providers as

subcontractors. The plaintiffs sued defendants because the defendants required the

subcontractor-providers “to accept unilateral no-poaching agreements[,]” which forbade

the defendants’ rivals, i.e., the subcontractor providers, from initiating job offers or

otherwise soliciting the nurses employed by defendants. Id. at *2. The defendants filed a

motion to dismiss arguing, among other things, that the plaintiffs failed to state a claim

under § 1 under all three rules of analysis, i.e., per se, quick look, and rule of reason.

       The court found that the agreements alleged were horizontal market allocation

agreements, which typically constitute a per se violation of § 1. Id. at *12. The court

determined that the plaintiffs plausibly alleged that the agreements were not reasonably

ancillary to the subcontractor agreements because, among other reasons, the

agreements lasted beyond the subcontractor relationship had ended and the defendants

were not subject to the same restrictions. Under those circumstances, the plaintiffs’

allegations were sufficient to allege a type of restraint subject to per se treatment. The

motion to dismiss was denied on that basis with respect to that issue. Id. at *12-13.

       In United States v. eBay, Inc., 968 F.Supp.2d 1030 (N.D. Cal. 2013), the

government asserted a § 1 claim against eBay, Inc. (“eBay”) and alleged that eBay

entered into an agreement with Intuit, Inc. (“Intuit”), “which restricted eBay and Inuit’s

ability to recruit or hire candidates from one another.” Id. at 1032. eBay filed a motion to

dismiss and argued, among other things, that the government “failed to state an

unreasonable restraint of trade because it fails to include any allegations sufficient to state

a rule of reason claim.” Id. at 1037. The government admitted that it did not include in the



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complaint any allegations with respect to the rule of reason, but argued that it was not

required to do so because it only intended to pursue claims under the per se and quick

look rules. Id.

       The court recognized that the government set forth factual allegations sufficient to

show plausibly that eBay and Intuit entered into a horizontal market allocation agreement.

Id. at 1039. The court explained that a horizontal “market allocation agreement or any

other restraint traditionally subject to per se treatment will only be found to be per se illegal

if it ‘facially appears to be one that would almost always tend to restrict competition and

decrease output[.]’” eBay, 968 F.Supp.2d at 1039 (quoting Nat'l Collegiate Athletic Ass'n

v. Bd. of Regents of Univ. of Oklahoma, 468 U.S. 85, 100 (1984)). Under those

circumstances, the court was charged with considering “factual evidence relating to the

agreement’s formation and character” to determine                “whether    the alleged no-

solicitation/no hire agreement…[was] ancillary to a procompetitive business purpose.” Id.

At the pleading stage of the litigation, however, the court could not “determine with

certainty the nature of the restraint, and by extension, the level of analysis to apply.” Id.

at 1040. In other words, “taking the allegations in the Complaint as true, the court…[could

not] determine as a matter of law that per se treatment…[would] be inappropriate.” Id.

The court denied the motion to dismiss with respect to that issue on that basis. Id.

       Defendant relied on decisions 7 which do not warrant the application of the rule of

reason in this case. In Eichorn v. AT & T Corp., 248 F.3d 131, 143 (3d Cir. 2001), the



7       Defendant cites the following decisions from courts outside the Third Circuit in
support of its argument that the rule of reason should be applied to the alleged horizontal
restraints in this case. Those decisions, however, are easily distinguishable from this
case. See Deslandes v.McDonald’s USA, LLC, Civ. Action No. 17-4857, 2018 WL
3105955, at *7 (N.D. Ill. June 25, 2018) (holding “the restraint alleged in plaintiff’s
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court of appeals held that the district court properly applied the rule of reason to analyze

the “no-hire agreement” at issue in the case because the “no-hire agreement” was a

covenant not to compete, i.e., a legitimate ancillary restraint on trade executed upon the

legitimate transfer of ownership of a business. Here, at this stage of the proceedings, the

court cannot discern that the alleged “no-poach” agreements would be legitimate ancillary

restraints on trade executed with some other proper business purpose.

       In Weisfeld v. Sun Chemical Corp., 210 F.R.D. 136, 143 (D.N.J. 2002), the court

relied upon Eichorn to conclude that the rule of reason applied to a § 1 claim based upon

the three largest manufacturers in the ink printing industry conspiring not to hire each

other’s employees for a period of four years. On appeal, the Third Circuit Court of Appeals

in dicta explained that Eichorn was distinguishable from the facts of Weisfeld:

       As we have recognized, the “Supreme Court has been cautious in extending
       the per se approach to claims that fall outside certain previously
       enumerated categories of liability.” Eichorn, 248 F.3d at 143 (citations


complaint cannot be deemed unlawful per se…[b]ecause the restraint alleged in plaintiff’s
complaint is ancillary to an agreement with a procompetitive effect”); In re High-Tech
Employee Antitrust Litig., 856 F.Supp.2d 1103 n.9 (N.D. Cal. 2012) (acknowledging that
the “horizontal agreements between competitors in restraint of trade” were “either per se
unlawful…or…prima facie anticompetitive under the rule of reason analysis” but not
deciding the issue because the plaintiffs plead their claim under the rule of reason); Bogan
v. Hodgkins, 166 F.3d 509, 515 (2d Cir. 1999) (holding the agreement in issue did not
trigger per se treatment because “while the Agreement may constrain General Agents to
some degree, it does not allocate the market for agents to any meaningful extent”);
Phillips v. Vandygriff, 711 F.2d 1217 (5th Cir. 1983) (holding the agreement in issue was
not subject to per se analysis because it was “at least potentially reasonably ancillary” to
a proper business purpose); UARCO Inc. v. Lam, 18 F.Supp.2d 1116 (D. Haw. 1998)
(analyzing an “unclean hands” defense in deciding a motion for preliminary injunction and
holding that companies’ agreements to not hire each other’s employees must be analyzed
under the rule of reason without recognizing that no-hire agreements are horizontal
market allocation agreements which receive per se treatment under the antitrust laws);
Coleman v. Gen. Elec. Co., 643 F. Supp. 1229 (E.D. Tenn. 1986) (holding the per se
analysis did not apply to the agreement in issue because “there was no stifling of
competition for the services of these employees” and the impact of the agreement on the
employment market was nothing more than “incidental”).
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       omitted). In Eichorn, we held that the no hire agreement at issue did not
       constitute a per se violation and, in fact, did not constitute an unreasonable
       restraint of trade at all. Id. at 144, 145-146. But the facts in Eichorn are
       different than those here. In Eichorn, AT & T adopted a policy not to allow
       employees of Paradyne Corp., an AT & T affiliate, to transfer to other
       divisions of AT & T. The purpose of the policy was to make Paradyne more
       attractive to potential buyers. Shortly thereafter, Paradyne was sold, and AT
       & T entered into a post-closing agreement in which it agreed not to hire,
       solicit or rehire any Paradyne employee or consultant whose compensation
       exceeded $50,000 for a period of 245 days (8 months). Id. at 136-37. In this
       case, however, Weisfeld alleges that the three largest manufacturers in the
       ink printing industry conspired not to hire each others' employees for a
       period of four years.

Weisfeld v. Sun Chem. Corp., 84 F. App'x 257, 260 n.2 (3d Cir. 2004). The court of

appeals, however, did not directly decide the issue. In any event, defendants’ citations to

Eichorn and Weisfeld do not persuade the court to conclude that the rule of reason would

apply to this case; rather, the dictum in Weisfeld supports plaintiffs’ argument that a

conspiracy to not hire or solicit employees between employers who compete with one

another may be a per se violation of § 1 of the Sherman Act.

       The court’s decision in this respect is supported by the government’s explanation

in its statement of interest and at the hearing on the motion to dismiss. It explained that

the federal agencies charged with enforcing the antitrust laws consider naked no-poach

agreements per se violations of the Sherman Act and the DOJ will proceed criminally

against those who enter into those kinds of agreements. (ECF No. 158 at 9, 11, 13 (citing

Federal Trade Commission, Department of Justice Antitrust Division, Antitrust Guidance

for Human Resource Professionals, at 3 (Oct. 2016)).

       The motion to dismiss will, therefore, be denied without prejudice with respect to

this issue. Defendants may raise this issue if warranted in a motion for summary

judgment.



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           3. Plausibility of Claim for Antitrust Conspiracy

       Section 1 of the Sherman Act provides, in pertinent part:

       Every contract, combination in the form of trust or otherwise, or conspiracy,
       in restraint of trade or commerce among the several States, or with foreign
       nations, is declared to be illegal.

15 U.S.C. § 1. “To state a Section 1 claim, then, a plaintiff must allege (1) an agreement

(2) to restrain trade unreasonably.” Lifewatch, 902 F.3d at 331 (quoting In re Ins.

Brokerage Antitrust Litig., 618 F.3d 300, 315 (3d Cir. 2010)). “A private plaintiff suing

under the Clayton Act must also allege antitrust standing, including that its ‘injury [is] of

the type the antitrust laws were intended to prevent and ... flows from that which makes

defendants’ acts unlawful.’” Lifewatch, 902 F.3d at 331 (quoting In re Ins. Brokerage

Antitrust Litig., 618 F.3d at 331 n.9).

       The prohibition in § 1 on “every contract, combination…, or conspiracy” that

unreasonably restrains trade is a prohibition on an “agreement” that unreasonably

restrains trade. Lifewatch, 902 F.3d at 332-33. “An agreement may be shown by either

direct or circumstantial evidence.” Id. at 333 (citing W. Penn Allegheny Health Sys., Inc.

v. UPMC, 627 F.3d 85, 99 (3d Cir. 2010)). “‘Unilateral activity by a defendant, no matter

the motivation, cannot give rise to a [S]ection 1 violation.’” Id. at 332-33 (quoting InterVest,

Inc. v. Bloomberg, L.P., 340 F.3d 144, 159 (3d Cir. 2003)). To show plausibly the

defendants made an “agreement,” “a plaintiff must plead ‘some form of concerted action

..., in other words, a unity of purpose or a common design and understanding or a meeting

of minds or a conscious commitment to a common scheme ....’” Id. (quoting Ins.

Brokerage, 618 F.3d at 315)). The Third Circuit Court of Appeals has explained:

       For circumstantial evidence of an agreement, then, a plaintiff must allege
       both parallel conduct and something “more,” which we have sometimes


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       called a “plus factor.” Ins. Brokerage, 618 F.3d at 321. This “more” could
       include evidence (1) “that the defendant had a motive to enter into a ...
       conspiracy,” (2) “that the defendant acted contrary to its interests,” or (3)
       “implying a traditional conspiracy.” Id. at 321-22 (quoting In re Flat Glass
       Antitrust Litig., 385 F.3d 350, 360 (3d Cir. 2004) ).

Lifewatch, 902 F.3d at 333.

       The Supreme Court of the United States has explained:

       In applying these general standards to a § 1 claim, we hold that stating such
       a claim requires a complaint with enough factual matter (taken as true) to
       suggest that an agreement was made. Asking for plausible grounds to infer
       an agreement does not impose a probability requirement at the pleading
       stage; it simply calls for enough fact to raise a reasonable expectation that
       discovery will reveal evidence of illegal agreement.

Twombly, 550 U.S. at 556.

       Defendants in their joint motion to dismiss the consolidated class action complaint

argue plaintiffs did not set forth factual allegations to show plausibly the “three distinct

bilateral agreements are part of a single, overarching conspiracy among the Defendants.”

(ECF No. 124-1 at 14.) Plaintiffs respond that “[t]he Complaint never refers to a ‘single’ or

‘overarching conspiracy[;]’” rather, plaintiffs plausibly alleged that “each Defendant

participated in bilateral combinations to restrain competition in the market for employees.”

(ECF No. 152 at 19-20.) According to plaintiffs, each member of the proposed class was

harmed by each bilateral agreement because each bilateral agreement “disrupted the

normal bargaining and price-setting mechanisms that apply in the labor market…[which]

suppress[ed] compensation levels generally.” (Id. at 20.) Plaintiffs also argue that “it is

certainly plausible that Defendants acted in concert with knowledge of, and in reliance on,

the other express agreements to further the purposes of the [overarching] conspiracy.”

(Id. at 21.)

       Here, plaintiffs allege that the defendants entered into three bilateral agreements:

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      (1) beginning no later than 2009 and lasting at least until 2016, Wabtec’s and
          Knorr’s senior executives entered into an express no-poach agreement and
          then actively managed it with each other through direct communications;

      (2) beginning no later than 2011 and lasting until at least 2015, senior executives
          at Knorr and Faiveley N.A. reached an express no-poach agreement that
          included a commitment to contact one another before pursuing an employee of
          the other company and actively managed the agreement through direct
          communications; and

      (3) beginning no later than 2014 and lasting at least until the companies
          merged in 2016, senior executives at Wabtec and Faiveley N.A. entered into
          a no-poach agreement in which the companies agreed not to hire each other’s
          employees without approval from the other company and actively managed and
          enforced the agreement through direct communications.

The foregoing allegations plausibly show that there existed three bilateral agreements to

restrain competition for employees in the railway equipment supplier industry. Issues

remain, however, about: (1) whether plaintiffs set forth factual allegations to show

plausibly that Wabtec, Knorr, and Faiveley N.A. were members of an overarching

conspiracy; and (2) if so, when the overarching conspiracy began.

      Plaintiffs plausibly alleged that by 2014 Wabtec, Knorr, and Faiveley N.A. were

engaged in three separate bilateral conspiracies. Plaintiffs, however, did not set forth

factual allegations from which the court could conclude it is plausible that Wabtec in 2009

up until 2014 knew about Knorr and Faiveley N.A.’s agreement, Knorr knew about Wabtec

and Faiveley N.A.’s agreement, or Faiveley N.A. knew about Wabtec and Knorr’s

agreement. Plaintiffs, however, may prove the existence of an overarching conspiracy via

circumstantial evidence. Plaintiffs’ allegations are sufficient to support a reasonable

inference that at least by 2014 when all three competitors had entered into no-poach

agreements they were engaged in conduct that would limit competition for the employees




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of each company, i.e., it is plausible they each entered into an overarching agreement to

refrain from competing for employees with their top rivals.

       Plaintiffs also plausibly alleged “something more” from which a reasonable

inference can be drawn that by 2014, Wabtec, Knorr, and Faiveley N.A. were members

of an overarching conspiracy to refrain from competing against each other with respect

to employees. First, plaintiffs assert that Wabtec, Knorr, and Faiveley N.A. each had a

motive to enter into an overarching agreement. Plaintiffs allege:

          -   Wabtec, Knorr, and Faiveley N.A. were the three largest rail equipment
              suppliers and some of the largest employers in the rail industry;

          -   there is a high demand for and limited supply of skilled employees who have
              rail industry experience;

          -   directly soliciting employees from other rail industry employers is a
              particularly efficient and effective method of competing for qualified
              employees;

          -   in a properly functioning and lawfully competitive labor market, rail industry
              employers compete with one another to attract highly-skilled talent for their
              employment needs; and

          -   the competition benefits employees because it increases the available job
              opportunities and improves an employee’s ability to negotiate for a better
              salary and other terms of employment.

Based upon the foregoing allegations, it is plausible to infer that by 2014, Wabtec, Knorr,

and Faiveley N.A. each had a motive to join an overarching conspiracy because: (1) they

were each other’s biggest competitors for skilled employees; and (2) they each entered

into bilateral agreements with their two largest competitors. An overarching agreement

among all three of the largest rail equipment suppliers would place Wabtec, Knorr, and

Faiveley N.A. on equal footing with respect to competition for employees from their largest




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competitors. In any event, the 2016 acquisition of Faiveley by Wabtec resulted in Faiveley

N.A. becoming part of the bilateral conspiracy between Wabtec and Knorr.

       Plaintiffs set forth factual allegations sufficient to show plausibly that the entry into

the bilateral agreements was contrary to the competitive interests of Wabtec, Knorr, and

Faiveley N.A.: “By soliciting and hiring employees from other rail industry employers, a

company is able to take advantage of the efforts its rival has expended in identifying and

training the employees, while simultaneously inflicting a cost on the rival by removing an

employee on whom the rival may depend.” (ECF No. 88 ¶ 35.) By entering into the

bilateral agreements, Wabtec, Knorr, and Faiveley N.A. forfeited the advantages gained

from soliciting and hiring their competitors’ employees. A reasonable inference is that they

would enter into such agreements in exchange for promises that their top competitors

would not solicit or hire each other’s employees. Thus, the top rivals would be on equal

footing in the competition for employees.

       Plaintiffs set forth sufficient factual allegations to show plausibly that there were

similarities between the three bilateral agreements from which a reasonable inference

may be drawn that the three bilateral agreements evolved into to an overarching

agreement when Wabtec and Faiveley N.A. (no later than 2014) entered into the third

bilateral agreement described in the consolidated class action complaint. Plaintiff alleges:

          -   the three bilateral agreements were entered into within a six-year time
              period and by the time Wabtec and Faiveley N.A. entered into their
              agreement in 2014, the other two bilateral agreements between Wabtec &
              Knorr and Knorr & Faiveley N.A. were effective and being enforced;

          -   the three bilateral agreements were executed and enforced by the
              companies’ senior executives;




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          -   the parties to each of the bilateral agreements agreed to not poach each
              other’s employees and to not hire each other’s employees prior to receiving
              approval from the other party to the agreement; and

          -   the executives of Wabtec, Knorr, and Faiveley N.A. managed and enforced
              the bilateral agreements via direct communication with each other.

       Based upon the foregoing, plaintiffs set forth factual allegations to show plausibly

four conspiracies to restrain competition for employees in the railway equipment supplier

industry: (1) beginning no later than 2009, Wabtec and Knorr; (2) beginning no later than

2011, Knorr and Faiveley N.A.; (3) beginning no later than 2014, Wabtec and Faiveley

N.A.; and (4) beginning at the earliest 2014, the overarching conspiracy among Wabtec,

Knorr, and Faiveley.

       Plaintiffs and defendants cite to three decisions in support of their positions with

respect to whether the allegations in the consolidated complaint are sufficient to plausibly

show an overarching conspiracy among Wabtec, Knorr, and Faiveley: In re Insurance

Brokerage Antitrust Litigation, 618 F.3d 300 (3d Cir. 2010); In re High-Tech Employee

Antitrust Litigation, 856 F.Supp.2d 1130 (N.D. Cal. 2012); and In re Iowa Ready-Mix

Concrete Antitrust Litigation, 768 F.Supp.2d 961, 972 (N.D. Iowa 2011).

       Defendants argue that this case “is like In re Insurance Brokerage Antitrust Litig.,,

in which the Third Circuit Held that alleged parallel kickback conspiracies among

defendants, although not necessarily ‘praiseworthy—or even lawful,’ did not plausibly

suggest a ‘global conspiracy’ among the defendants.” (ECF No. 124-1 at 15.) In Insurance

Brokerage, the plaintiffs, who were “purchasers of commercial and employee benefit

insurance,” sued the defendants, who were “insurers and insurance brokers that deal[t]

in those lines of insurance.” Insurance Brokerage, 618 F.3d at 308. The plaintiffs sued

the defendants alleging the defendants “entered into unlawful, deceptive schemes to

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allocate purchasers among particular groups of defendant insurers.” Id. The plaintiffs

explained: “conspiring brokers funneled unwitting clients to their co-conspirator insurers,

which were insulated from competition; in return, the insurers awarded the brokers

contingent commission payments—concealed from the insurance purchasers and

surreptitiously priced into insurance premiums—based on the volume of premium dollars

steered their way.” Id. The agreements between brokers and insurers at issue in

Insurance Brokerage were vertical agreements. Id. The plaintiffs also alleged that a

“global conspiracy” existed among the brokers to conceal the existence of the alleged

conspiracy and commission agreements. Id. at 313. The plaintiffs labeled the global

conspiracy as a “horizontal restraint.” Id. at 348.

       The defendants filed a motion to dismiss arguing, among other things, that the

plaintiffs failed to set forth factual allegations sufficient to show plausibly a global,

horizonal conspiracy existed among the brokers or among the insurers. The plaintiffs in

response explained that in a normal market, a broker would explain to customers that

another broker’s rates are too high. Because of the conspiracy, however, a broker could

not explain to a potential client that another broker’s rates were too high without exposing

himself or herself and his or her participation in the conspiracy and commission

agreements. The plaintiffs in support of the global conspiracy theory pointed to parallel

conduct by the brokers and insurers, i.e., “the similar nature of each broker-centered

conspiracy, as well as the allegedly similar confidentiality agreements the brokers

inserted into the vertical contracts with each of their partner insurers.” Id. at 350-51.

       The district court granted the motion to dismiss with respect to the global

conspiracy and held that the “complaints’ factual allegations fail[ed] to plausibly imply



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horizontal non-disclosure agreements among the defendant brokers or the defendant

insurers.” Insurance Brokerage, 618 F.3d at 348. The district court explained: “While

Plaintiffs present facts to support the possibility of inadequate disclosures by the brokers

to the insureds, the Complaints are bereft of allegations to demonstrate that this was more

than brokers adopting sub-par disclosure methods to protect their own, lucrative

agreements.” Id. at 351.

       The court of appeals relied upon Twombly to affirm the decision of the district court.

The court of appeals explained:

       Twombly makes clear that a claim of conspiracy predicated on parallel
       conduct should be dismissed if “common economic experience,” or the facts
       alleged in the complaint itself, show that independent self-interest is an
       “obvious alternative explanation” for defendants' common behavior. For our
       present purposes, we find this guidance sufficient.

Insurance Brokerage, 618 F.3d at 325. The court found that although the plaintiffs alleged

parallel conduct, i.e., the brokers used industry-standard disclosure language in their

agreements with customers and did not disclose their participation in the vertical

agreements with insurers to their customers, the brokers’ independent self-interest

provided an obvious alternative explanation for their failure to disclose the vertical

agreements to customers. The court of appeals explained: “Reaping ‘enormous profits’

from their own furtive use of contingent commission agreements, the brokers had no

desire to upset the apple cart.” Id. at 349.

       The court of appeals found that the plaintiffs did not otherwise set forth factual

allegations, i.e., “plus factors,” to “plausibly imply a horizontal agreement among the

brokers.” Id. at 349-50. For example, the brokers’ use of industry standard disclosure




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practices was not a “plus factor” from which a horizontal conspiracy could be reasonably

inferred. Id. The court of appeals explained:

              Plaintiffs' attack on the pervasive use of contingent commissions to
       exploit insurance brokers' power over their clients—and the use of similar
       techniques to disguise this activity—may allege a “pernicious industry
       practice,” but they do not plausibly imply an industry-wide conspiracy.

Id. at 350.

       Insurance Brokerage is distinguishable from this case. First, plaintiffs allege

members of three horizontal bilateral agreements to not poach each other’s employees

were members of one overarching horizontal agreement to not poach each other’s

employees, i.e., the members and subject-matter of the agreements were the same. In

Insurance Brokerage, however, the plaintiffs argued that vertical agreements between

brokers and insurers were evidence of horizontal agreements between brokers and

between insurers to not disclose the contents of the vertical agreements. In other words,

the parties to the horizontal agreements were different than the parties to the vertical

agreements and the subject-matters of the agreements were related but not the same.

       Second, the plaintiffs in Insurance Brokerage heavily relied upon the industry-

standard disclosure language to show that the brokers were engaged in horizontal

agreements to not disclose their vertical agreements with insurers. The court of appeals

rejected that argument because although the reliance on the industry-standard language

may be evidence of a “pernicious industry practice,” it did not show that the brokers were

engaged in a horizontal agreement to violate the antitrust laws. Id. at 351. Here, however,

there is no evidence that the alleged agreements by Wabtec, Knorr, and Faiveley to not

poach each other’s employees were industry practice. As discussed above, plaintiffs set

forth factual allegations that constitute “plus factors” and circumstantially support that by

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at least 2014, Wabtec, Knorr, and Faiveley were members of an overarching conspiracy

to not poach each other’s employees.

       The parties also cite to In re High-Tech Employee Antirust Litigation, 856

F.Supp.2d 1103 (N.D. Cal. 2012). In High-Tech, the plaintiff-employees alleged the

defendant-companies, who were all high-tech companies with a principal place of

business in Silicon Valley, conspired to fix and suppress employee compensation to

restrict employee mobility. Id. at 1108. The plaintiffs alleged that the conspiracy consisted

of six bilateral agreements among the defendants to not poach each other’s employees.

Id. at 1110-11. The plaintiffs also alleged that all defendants were members of an

“overarching conspiracy.” Id. at 1115. The defendants argued that the plaintiffs failed to

set forth factual allegations sufficient to show plausibly there was an overarching

conspiracy among all defendants. Id.

       The district court determined the factual allegations in the complaint plausibly

showed the defendants were a part of the overarching conspiracy because the plaintiffs

“alleged facts beyond mere parallel conduct[,]” which “tend…to exclude the possibility of

independent action.” Id. at 1117. The court explained the plaintiffs alleged: (1) the six

bilateral agreements were negotiated by senior executives; (2) “at all relevant times, at

least one of three [senior] executives ‘had significant influence over at least one party to

each of the six bilateral agreements[;]” (3) the six bilateral agreements, which were

reached in secrecy over a span of two years, were identical; and (4) one of the senior

executives (Steve Jobs) “exerted significant influence over companies involved in four of

the bilateral” agreements. Id. at 1116-17. The court concluded: “The fact that all six

identical bilateral agreements were reached in secrecy among seven Defendants in a



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span of two years suggests that these agreements resulted from collusion, and not from

coincidence.” Id. at 1120.

       The factual allegations in support of an overarching conspiracy in this case are not

as strong as the factual allegations in High-Tech; indeed, plaintiffs in this case do not

allege that a) Wabtec, Knorr, or Faiveley N.A. shared senior executives or board

members b) senior executives or board members had influence over another party to the

bilateral agreements, c) the agreements were reached within a span of two years (here it

was approximately 5 years), or d) the agreements were identical. Plaintiffs do allege,

however, that beginning in 2014, the three largest railroad equipment suppliers were all

engaged with each other in bilateral agreements to not poach each other’s employees.

The agreements, like the agreement in High-Tech, were company-wide in the United

States and included the same essential terms. Wabtec, Knorr, and Faiveley N.A. would

have been motivated to enter into an overarching agreement to ensure that the other two

companies also agreed to not poach each other’s employees and obtain any advantage

in the marketplace. Under those circumstances, there is a reasonable expectation that

discovery will reveal evidence that at least beginning in 2014 (when Wabtec and Faiveley

N.A. entered into their no poach agreement) there was an overarching conspiracy among

Wabtec, Knorr, and Faiveley N.A. to not poach each other’s employees. Like the plaintiffs

in High-Tech, plaintiffs in this case set forth factual allegations sufficient to show parallel

conduct and something “more” to show defendants were acting pursuant to an

overarching conspiracy.

       Defendants also cite to In re Iowa Ready-Mix Concrete Antitrust Litigation, 768

F.Supp.2d 961, 972 (N.D. Iowa 2011), in support of their argument that plaintiffs failed to



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set forth factual allegations sufficient to show plausibly Wabtec, Knorr, and Faiveley N.A.

were members of an overarching conspiracy. In Ready-Mix, the plaintiffs, purchasers of

ready-mix concrete, sued the defendants, producers and sellers of ready-mix concrete

and certain of their officers, directors, owners, and employees, “alleging an antitrust

conspiracy to suppress and eliminate competition by fixing the price of ready-mix concrete

in the ‘Iowa region.’” Id. at 963. According to the plaintiffs, “the defendants and their co-

conspirators conspired to set and reached agreements to set agreed-upon prices, to set

agreed-upon price increases, and to submit non-competitive and rigged bids for ready-

mix concrete sold in the Northern District of Iowa and elsewhere.” Id. at 965-66. The

defendants filed a motion to dismiss in which they argued that “the plaintiffs…alleged no

facts to support a direct agreement among any of the defendants other than the three

separate and discrete agreements admitted in the individual defendant's plea agreements

to criminal antitrust charges[.]” Id. at 971. More specifically, the defendants argued:

“defendants contend that the allegations of an industry-wide conspiracy in the entire (and

undefined) ‘Iowa region’ over a four-plus year period are inconsistent with the discrete

agreements admitted in the plea agreements and, thus, must be disregarded.” Id. at 972.

       The court agreed with the defendants and held that the plaintiffs included in the

complaint only conclusory allegations about the defendants allegedly entering into an

industry-wide conspiracy in the Iowa region. Id. at 974. The court explained:

       Here, as the defendants contend, the Amended Consolidated Complaint
       does not even allege parallel conduct, but skips straight to conclusory
       allegations of an agreement among the defendants. See Amended
       Consolidated Complaint at ¶¶ 42–51. Such “a naked assertion of conspiracy
       in a § 1 complaint ... gets the complaint close to stating a claim, but without
       some further factual enhancement it stops short of the line between
       possibility and plausibility of ‘entitle[ment] to relief.’ ” Bell Atlantic, 550 U.S.
       at 557, 127 S.Ct. 1955 (citing DM Research, Inc. v. College of Am.


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Pathologists, 170 F.3d 53, 56 (1st Cir.1999), as stating, “[T]erms like
‘conspiracy,’ or even ‘agreement,’ are border-line: they might well be
sufficient in conjunction with a more specific allegation-for example,
identifying a written agreement or even a basis for inferring a tacit
agreement, ... but a court is not required to accept such terms as a sufficient
basis for a complaint”). There is no “further factual enhancement” in the
Amended Consolidated Complaint to push the allegations of an antitrust
conspiracy across the line between possible and plausible. Indeed,
allegations that, for the purpose of forming and effectuating their
combination and conspiracy, the defendants and their co-conspirators “did
those things which they combined and conspired to do, including, among
other things, discussing, forming and implementing agreements to raise and
maintain at artificially high levels the prices for Ready–Mix Concrete,”
Amended Consolidated Complaint at ¶ 44, is, as the defendants contend,
merely a tautology, not an allegation of additional facts. Even the plaintiffs'
allegations that, throughout the class period, the defendants and their co-
conspirators conspired to set and reached agreements to set agreed-upon
prices, to set agreed-upon price increases, and to submit non-competitive
and rigged bids for ready-mix concrete sold in the Northern District of Iowa
and elsewhere, id. at ¶¶ 51–52, are merely conclusory allegations of an
agreement, not allegations of facts from which an agreement can
reasonably be inferred. Similarly, allegations that the defendants concealed
their agreement through secret meetings, id. at 56–57, are merely
conclusory allegations providing no factual enhancement.

The defendants are correct that the only facts about the nature and
operation of the alleged conspiracy to be gleaned from the Amended
Consolidated Complaint are the facts in the plea agreements of the
individual defendants. Even then, it is only by recourse to the plea
agreements referenced in the Amended Consolidated Complaint that one
can learn any factual details of antitrust conspiracies, and then only as to
certain bilateral agreements.

On the other hand, the plaintiffs are correct that the Packaged Ice decision
on which the defendants rely held that civil antitrust litigation cannot be
“circumscribed or defined by the boundaries of the criminal investigation or
plea agreements” of some of the alleged participants in the civil antitrust
conspiracy. 723 F.Supp.2d at 1011–12. That decision also held that “taken
as part of the larger picture, and considering the parallel internal
investigations that have resulted in the suspension of key executives, these
guilty pleas [of certain alleged participants in the civil conspiracy] do
enhance the expectation that discovery might lead to evidence of a
nationwide illegal agreement among these same actors, one of whom is
under active government investigation and admittedly does not sell product
in southeastern Michigan.” Id. at 1011. What is missing in this case,



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       however, is the “larger picture” from which inferences of a wider conspiracy
       can be drawn from guilty pleas to separate bilateral conspiracies.

Id.

       The court: (1) rejected the application of a “hub and spoke” conspiracy to the case

because the plaintiffs did not allege a vertical conspiracy, which is a requirement of a “hub

and spoke” conspiracy; (2) recognized the plaintiffs did not set forth any “allegation of

facts supporting the existence of an overall plan to fix prices or that each defendant had

knowledge that others were involved in the conspiracy[;]” and (3) found the allegations

about the geographical area of the conspiracy, i.e., an undefined “Iowa region,”

implausible because “[a]s alleged, ready-mix concrete must be produced and delivered

within a limited geographical area, such that it is not clear how all of the defendants could

compete within an entire undefined ‘Iowa region[.]’” Id. at 975-76.

       Defendants rely upon Ready-Mix and argue that like the plaintiffs in Ready-Mix,

the “[p]laintiffs [in this case] do not offer any factual allegations that would connect the

separate bilateral agreements.” (ECF No. 124-1 at 15.) Plaintiffs’ allegations in this case,

however, rise above the conclusory and implausible allegations set forth by the plaintiffs

in Ready-Mix. As discussed above, by 2014, the three largest railroad equipment

suppliers had all entered into bilateral agreements to not poach each other’s employees.

Those agreements were reached and managed by the senior executives of the three

largest railroad equipment suppliers and the agreements applied company-wide

throughout the United States. Under those circumstances, there is a reasonable

expectation that discovery will reveal evidence that beginning no later than 2014, Wabtec,

Knorr, and Faiveley N.A. were members of an overarching conspiracy to restrain

competition for employees.

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       Based upon the foregoing, plaintiffs set forth factual allegations sufficient to show

plausibly that: (1) Wabtec, Knorr, and Faiveley N.A. entered into three bilateral no-poach

agreements to not poach each other’s employees; and (2) beginning in at least 2014, the

three bilateral no-poach agreements were part of an overarching conspiracy among

Wabtec, Knorr, and Faiveley N.A. to not poach each other’s employees. Defendants’

motion to dismiss will be denied on that basis.

          4. Ricon and Bendix will be dismissed without prejudice from the
             consolidated class action complaint.

       Defendants argue that the complaint filed by the DOJ in the underlying criminal

action did not name Bendix or Ricon as defendants and the factual allegations with

respect to Bendix (a subsidiary of Knorr) and Ricon (a subsidiary of Wabtec) “are

particularly sparse[.]” (ECF No. 124-1 at 16.) With respect to Ricon, defendants argue

that “[t]he single reference to Ricon in the Complaint comes in the paragraph in which

Plaintiffs describe Ricon as a defendant.” (Id. at 17.) “Plaintiffs make no allegation that

Ricon’s products are principally for the ‘railway industry.’” (Id.) Plaintiffs “do not oppose

Defendants’ request to dismiss the claims against Ricon.” (ECF No. 152 at 24 n.7.)

Plaintiffs request the court dismiss the claims against Ricon without prejudice “to Plaintiffs’

ability to request leave to amend in the future.” (Id.) The motion to dismiss will be granted

without prejudice with respect to Ricon, and Ricon will be dismissed without prejudice as

a defendant.

       With respect to Bendix, defendants explain that plaintiffs “allege a no-poach

conspiracy restraining competition for ‘railway industry employees[,]” but Bendix is a

manufacturer of braking systems for trucks, i.e., tractor trailers and similar commercial

vehicles, and not rail cars. (ECF No. 124-1 at 16.) In other words, plaintiffs do not allege

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that Bendix had any railway employees, who are in issue in this case. (Id. at 17.) Plaintiffs

in the consolidated class action complaint set forth the following allegations against

Bendix:

       Defendant Bendix Commercial Vehicle Systems LLC (“Bendix”) is a
       Delaware corporation with its headquarters in Elyria, Ohio. Bendix develops
       and supplies active safety technologies, air brake charging and control
       systems, and components for commercial vehicles. Bendix is a wholly-
       owned subsidiary of Knorr-Bremse. Bendix served as a recruiter for Knorr
       Brake for certain employment needs.
                                             …
       In furtherance of their agreement, Wabtec and Knorr informed their outside
       recruiters not to solicit employees from the other company. For example,
       Knorr Brake used Bendix, a Knorr subsidiary and Knorr Brake sister
       company, as a recruiter for certain employment needs. Knorr Brake directed
       the Bendix recruiters to refrain from soliciting employees from Wabtec.

(ECF No. 88 ¶¶ 27, 45).

       To state a § 1 claim against Bendix, plaintiffs must set forth factual allegations

sufficient to plausibly show that Bendix had “unity of purpose or a common design and

understanding or a meeting of minds or a conscious commitment to a common scheme”

with Wabtec to divide the market in the employee rail equipment supplier industry.

Insurance Brokerage, 618 F.3d at 315. Plaintiffs, however, are not required to show that

Bendix “knew of or participated in every transaction in furtherance of or related to the

alleged conspiracy.” In re Magnesium Oxide Antitrust Litig., No. CIV. 10-5943 DRD, 2011

WL 5008090, at *17 (D.N.J. Oct. 20, 2011) (citing decisions). Allegations that Bendix

knew about the conspiracy—without more—are insufficient to show plausibly that Bendix

was a member of an alleged conspiracy in this case. Id. Plaintiffs must set forth factual

allegations to show plausibly: (1) Bendix had knowledge of the agreement between

Wabtec and Knorr; and (2) Bendix intended to join the agreement. Id. (citing In re Vitamins

Antitrust Litig., 320 F.Supp.2d 1, 15 (D.D.C. 2004)). “‘[A] party progresses form mere

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knowledge of an endeavor to intent to join it when there is ‘informed and interested

cooperation, stimulation, instigation. And there is also a stake in the venture which, even

if it may not be essential, is not irrelevant to the question of conspiracy.’” Id. (quoting

Direct Sales Co. v. United States, 319 U.S. 703, 713 (1943)).

       Here, plaintiffs allege Bendix, a wholly-owned subsidiary of Knorr, acted as Knorr’s

recruiter for “certain employment needs” and that Knorr directed Bendix to refrain from

soliciting employees from Wabtec. (ECF No. 88 ¶¶ 27, 45.) Those allegations, however,

are not sufficient to raise a reasonable expectation that discovery will reveal evidence

that Bendix knew Knorr agreed with Wabtec to restrict competition for employees and

that Bendix intended to join the agreement. Plaintiffs’ allegations against Bendix amount

to no more than allegations that Bendix aided and abetted Knorr in violating the antitrust

laws. The Sherman Act, however, does not establish liability for a wholly-owned

subsidiary who aids and abets its parent-corporation in violating the antitrust laws; rather,

“to state a valid antitrust claim against…[a wholly-owned subsidiary], the…[plaintiff] must

assert conduct by [the wholly-owned subsidiary] that is directly forbidden by the Sherman

Act.” MCI Telecommunications Corp. v. Graphnet, Inc., 881 F. Supp. 126, 130 (D.N.J.

1995). In other words, “aiding and abetting is not an independent theory of civil liability

under the Sherman Act.” Top Rank, Inc. v. Haymon, No. CV154961JFWMRWX, 2015 WL

9948936, at *16 (C.D. Cal. Oct. 16, 2015) (citing MCI Telecommunications, 881 F.Supp.

at 129). The motion to dismiss with respect to Bendix will, therefore, be granted, and

Bendix will be dismissed without prejudice 8 as a defendant.



8       In the alternative to plaintiffs’ argument that the allegations against Bendix are
sufficient, they request leave to amend the consolidated class action complaint to set forth
additional factual allegations against Bendix. (ECF No. 152 at 26 n.9.) To the extent
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      B. Motion to Strike Class Allegations

          1. Applicable Law

      Here, defendants argue the class allegations should be stricken from the

consolidated class action complaint under Federal Rule of Evidence 12(f). (ECF No. 129

at 7.) Defendants also acknowledge that Federal Rule of Civil Procedure 23(c)(1)(A) and

(d)(1)(D) provides “statutory authority for Defendants’ pleading-stage motion to strike.”

(ECF No. 129 at 19.) Courts have reached different conclusions about whether Rule 12(f),

Rule 23, or both9 Rule 12(f) and Rule 23 provide a court the authority to strike class

allegations from the complaint. For the reasons explained below, defendants’ motion to

strike class allegations will be considered and analyzed under Rule 23(d)(1)(D).

      a. Rule 12(f)

      Rule 12(f) provides, in pertinent part, that “[t]he court may strike from a pleading

an insufficient defense or any redundant, immaterial, impertinent, or scandalous matter.”

FED. R. CIV. P. 12(f). The moving party bears the burden to show allegations should be

stricken from a pleading. Staro Asset Mgmt., LLC v. Soose, No. CIV.A. 02-886, 2005 WL

2179781, at *3 (W.D. Pa. Aug. 17, 2005). “‘The purpose of a motion to strike is to clean

up the pleadings, streamline litigation, and avoid unnecessary forays into immaterial

matters.’” Landau v. Lamas, Civ. Action No. 15-1327, 2018 WL 3126396, at *2 (M.D. Pa.




plaintiffs want to amend their consolidated class action complaint, they should do so in
accordance with Federal Rule of Civil Procedure 15.

9       For example, in Bell v. Cheswick Generating Station, Genon Power Midwest,
L.P., Civ. Action No. 12-929, 2015 WL 401443, at *2 (W.D. Pa. Jan. 28, 2015), the court
explained that Rule 12(f) and Rule 23(c)(1)(A) “together, provide authority for the Court
to strike the class allegations from Plaintiffs’ Complaint, if appropriate, even before
Plaintiffs move for class certification.”
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June 26, 2018) (quoting McInerney v. Moyer Lumber and Hardware, Inc., 244 F.Supp.2d

393, 402 (E.D. Pa. 2002). “While courts possess considerable discretion in weighing Rule

12(f) motions, such motions are not favored and will generally be denied unless the

material bears no possible relation to the matter at issue and may result in prejudice to

the moving party.” Miller v. Group Voyagers, Inc., 912 F.Supp. 164, 168 (E.D. Pa. 1996).

“Motions to strike factual allegations will be denied when, although the averments state

no independently actionable claim, they ‘are so connected with the subject matter of the

suit that it might be deemed to present a question of law or fact that the court ought to

hear.’” In re Westinghouse Sec. Litig., No. CIV. A. 91-354, 1998 WL 119554, at *2 (W.D.

Pa. Mar. 12, 1998) (quoting River Rd. Dev. Corp. v. Carlson Corp.- Ne., No. CIV. A. 89-

7037, 1990 WL 69085, at *1 (E.D. Pa. May 23, 1990)).

      It is unlikely that a defendant can show the class allegations constitute “an

insufficient defense or any redundant, immaterial, impertinent, or scandalous matter[,]” 10




10    One court in this district defined the relevant terms of Rule 12(f) as follows:

      “Redundant”—The statement of facts which are wholly foreign to the issue
      intended to be denied or the needless repetition of material averments.

      “Immaterial”—having no essential or important relationship to the averment
      intended to be denied. A statement of unnecessary particulars in connection
      with, and as descriptive of, what is material.

      “Impertinent”—A statement of matters applied to facts which do not belong
      to the matter in question, and which is not necessary to the matter in
      question.

      “Scandalous”—Unnecessary matter or facts criminatory of a party referred
      to in the pleading.

Burke v. Mesta Mach. Co., 5 F.R.D. 134, 138 (W.D.Pa.1946) (cited by DirecTV, Inc. v.
Weikel, No. CIV. 03-5300 (JBS), 2005 WL 1243378, at *2 (D.N.J. May 25, 2005)).
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FED. R. CIV. P. 12(f), that should be stricken from the complaint. See Timothy A. Daniels,

Challenging Class Certification at the Pleading Stage: What Rule Should Govern and

What Standard Should Apply?, 56 S. Tex. L. Rev. 241, 264 (2014) (“A complaint seeking

class certification certainly does not raise an ‘insufficient defense,’ nor does it typically

contain ‘redundant,’ ‘impertinent,’ or ‘scandalous’ matters.”). It is recognized, however,

that “[a]n order granting a motion to strike class allegations is tantamount to a denial of

class certification after a motion to certify.’” Smith v. Merial Ltd., No. 10-cv-439, 2012 WL

2020361, at *6 (D.N.J. June 5, 2012) (quoting 1 JOSEPH M. MCLAUGHLIN, MCLAUGHLIN ON

CLASS ACTIONS § 3:4 (15th ed. 2018)); Richardson v. Verde Energy USA, Inc., 354

F.Supp.3d 639, 654 (E.D. Pa. 2018) (“[A] motion to strike is ‘for all practical purposes,

identical to an opposition to a motion for class certification.”) (quoting Korman v. The

Walking Co., 503 F.Supp.2d 755, 762-63 (E.D. Pa. 2007)); Scott v. Family Dollar Stores,

Inc., 733 F.3d 105, 110 n.2 (4th Cir. 2013) (“[W]e have jurisdiction to review the district

court’s grant of Family Dollar’s motion to dismiss or strike the class allegations because

the district court’s ruling is the functional equivalent of denying a motion to certify the case

as a class action.”) (citing In re Bemis Co., Inc., 279 F.3d 419, 421 (7th Cir. 2002) (holding

the rejection of a position in an answer with respect to whether class treatment was

suitable in a case was the “functional equivalent” of denying a motion for class

certification)). Thus, a court’s consideration of a motion to strike class allegations should

not be analyzed under Rule 12(f) under which the movant the burden of proof; rather, a

court should consider a motion to strike class allegations under the pertinent provisions

of Rule 23, which governs class certification.

       b. Rule 23



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       Rule 23(c)(1)(A) provides that “[a]t an early practicable time…the court must

determine by order whether to certify the action as a class action[,]” FED. R. CIV. P.

23(c)(1)(A), and Rule 23(d)(1)(D) provides that “the court may issue orders that…require

that the pleadings be amended to eliminate allegations about representation of absent

persons and that the action proceed accordingly[,]” FED. R. CIV. P. 23(d)(1)(D). The

Supreme Court of the United States has recognized that “[s]ometimes the issues are plain

enough from the pleadings to determine whether” class certification is appropriate in a

given case. Gen. Tel. Co. of the Sw. v. Falcon, 457 U.S. 147, 160 (1982). The Third Circuit

Court of Appeals has acknowledged that in a “rare few” cases “the complaint itself

demonstrates that the requirements for maintaining a class action cannot be met” and a

court may strike class allegations contained in a complaint. Landsman & Funk PC v.

Skinder-Strauss Assocs., 640 F.3d 72, 93 n.30 (3d Cir. 2011) (citing Rios v. State Farm

Fire & Cas. Co., 469 F. Supp. 2d 727, 740 (S.D. Iowa 2007)). In Landsman, the court

noted, however, that in all other cases (the majority of cases) “[t]o determine if the

requirements of Rule 23 have been satisfied, a district court must conduct a ‘rigorous

analysis.’” Landsman, 640 F.3d at 93 (quoting In re Hydrogen Peroxide Antitrust Litig.,

552 F.3d 305, 309 (3d Cir. 2008)). The court of appeals explained:

      In [conducting a rigorous analysis], a “court may ‘delve beyond the
      pleadings to determine whether the requirements for class certification are
      satisfied.’” In re Hydrogen Peroxide, 552 F.3d at 316 (quoting Newton v.
      Merrill Lynch, Pierce, Fenner & Smith, Inc., 259 F.3d 154, 167 (3d
      Cir.2001)). . . . In most cases, some level of discovery is essential to such
      an evaluation. In Weiss v. Regal Collections, 385 F.3d 337 (3d Cir.2004),
      we emphasized the importance of discovery as part of the class certification
      process. “It seems appropriate,” we said, “that the class action process
      should be able to ‘play out’ according to the directives of Rule 23 and should
      permit due deliberation by the parties and the court on the class certification
      issues.” Weiss, 385 F.3d at 347-48 (footnote omitted). Accordingly,
      “[a]llowing time for limited discovery supporting certification motions may . .


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       . be necessary for sound judicial administration.” Id. at 347 n. 17. These
       concerns were the basis for setting down a “rigorous analysis” requirement
       in Hydrogen Peroxide, where we recognized that changes in Rule 23
       reflected the need “for a thorough evaluation of the Rule 23 factors.” In re
       Hydrogen Peroxide, 552 F.3d at 318.

Landsman, 640 F.3d at 93.

       With respect to certification of a class, the proponent of the class bears the burden

of proof to show by a preponderance of the evidence that the four requirements of Rule

23(a) are satisfied and that the class fits in one of the three categories listed in Rule

23(b)(1)-(3). In re Hydrogen Peroxide, 552 F.3d at 309 n.6. Here, the parties dispute

which party has the burden of proof with respect to defendants’ motion to strike class

allegations. According to plaintiffs, defendants must “satisfy the very heavy burden of

establishing that class certification is a ‘clear impossibility.’” (ECF No. 152 at 8 (quoting

Dieter v. Aldi, Inc., No. 18-cv-846, 2018 WL 6191586, at *6 (W.D. Pa. Nov. 28, 2018).)

According to defendants, however, “[o]n a motion to strike, the burden remains with the

plaintiff to show that they can meet the Rule 23 requirements.” (H.T. 2/25/2019 (ECF No.

176) at 17.) Defendants’ motion to strike the class allegations is based upon only the

allegations contained in the consolidated class action complaint, i.e., neither party offered

any evidence in support of their positions. Thus, the court’s consideration of defendants’

argument that class certification is impossible as a matter of law is constrained by the

applicable law and the allegations in the consolidated class action complaint.

       Courts have recognized that with respect to whether class allegations should be

stricken “‘the plaintiff bears the burden of advancing a prima facie showing that the class

action requirements of Fed. R. Civ. P. 23 are satisfied or that discovery is likely to produce

substantiation of the class allegations.’” Trunzo v. Citi Mortgage, Civ. Action No. 11-1124,



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2018 WL 741422, at * 4 (W.D. Pa. Feb. 7, 2018) (quoting Mantolete v. Bolger, 767 F.2d

1416, 1424 (9th Cir. 1985)); Noye v. Yale Assocs., Inc., No. 1:15-CV-2253, 2017 WL

2813293, at *3 (M.D. Pa. June 29, 2017); Swank v. Wal-Mart Stores, Inc., No. 2:13-CV-

01185, 2015 WL 1508403, at *2 (W.D. Pa. Mar. 31, 2015); Bell v. Cheswick Generating

Station, Genon Power Midwest, L.P., Civ. Action No. 12-929, 2015 WL 401443, at *3

(W.D. Pa. Jan. 28, 2015) (“accelerating the class certification question does not alter the

traditional Rule 23 burdens….”). “Absent such a showing, a trial court’s refusal to allow

class discovery is not an abuse of discretion.” Trunzo, 2018 WL 741422, at *4 (citing

Mantolete, 767 F.2d at 1424). Stated another way, “courts grant motions to strike under

Rule 23(d)(1)(D) before class discovery only in ‘the rare few [cases] where the complaint

itself demonstrates that the requirements for maintaining a class action cannot be met[.]’”

Id. (quoting Goode v. LexisNexis Risk & Info. Analytics Grp., Inc., 284 F.R.D. 238, 246

(E.D.Pa. 2012)). Thus, plaintiffs have the burden to allege sufficient facts in the

consolidated class action complaint to make a prima facie showing that the requirements

of Rule 23 are satisfied or that at least discovery is likely to produce substantiation of the

class allegations.

       “The class action is ‘an exception to the usual rule that litigation is conducted by

and on behalf of the individual named parties only.’” Comcast Corp. v. Behrend, 569 U.S.

27, 33 (2013). In order to become certified, a class must satisfy the four requirements of

Rule 23(a): (1) numerosity; (2) commonality; (3) typicality; and (4) adequacy of

representation. FED. R. CIV. P. 23(a). In addition to satisfying the four requirements set

forth in Rule 23(a), the class must fit within one of the three types of class actions set

forth in Rule 23(b). Mielo v. Steak ‘n Shake Operations, Inc., 897 F.3d 467, 482 (3d Cir.



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2018). Plaintiffs’ consolidated class action complaint pleads the class claims pursuant to

Rule 23(a), 23(b)(2) and 23(b)(3). (ECF No. 88 ¶ 65). Defendants argue that the

consolidated class action complaint shows that plaintiffs will not be able to satisfy the Rule

23(a)(3) requirement of typicality and the Rule 23(b) requirement of predominance and

they challenge plaintiffs’ class definition as overbroad. Each of the arguments will be

addressed below.

       2. Rule 23(a)(3) Typicality Analysis

       Typicality11 is designed to “‘screen out class actions in which the legal or factual

position of the representatives is markedly different from that of other members of the




11       One treatise has recognized that “[t]he typicality inquiry assumes an added
dimension of complexity when multiple parties are named as defendants.” 1 WILLIAM B.
RUBENSTEIN, ALBA CONTE, HERBERT NEWBERG, NEWBERG ON CLASS ACTIONS § 3:48 (5th
ed. 2012). “The question is whether a plaintiff who has been affected by the conduct of
one of the defendants may name all those who engaged in the challenged conduct as the
defendants—and thereby represent a class of all those affected by any single
defendant—even though the named plaintiff has had no contact with some of those
defendants.” Id. The Third Circuit Court of Appeals has explained that “where no nominal
plaintiff has standing on any issue against one of multiple defendants, a suit for damages
may not be maintained as a class action against that defendant.” Haas v. Pittsburgh Nat’l
Bank, 526 F.2d 1083 (3d Cir. 1975). The court of appeals acknowledged two exceptions
to that general rule:
         (1) situations in which the injuries are the result of “a conspiracy or
         concerted schemes between the defendants at whose hands the class
         suffered injury,” or (2) instances in which all defendants are juridically
         related and a single disposition of the entire dispute would be expeditious.
Id. at 1095 n.15 (quoting La Mar v. H & B Novelty & Loan Co., 489 F.2d 461 (9th Cir.
1973)).
         Here, plaintiffs, who are employees of Knorr, Wabtec, and certain of their
respective wholly-owned subsidiaries, seek to represent a class of employees of Knorr,
Wabtec, and certain of their respective wholly-owned subsidiaries. Plaintiffs set forth
factual allegations to show plausibly that their injuries are the result of conspiracies
entered into by Knorr, Wabtec, and Faiveley N.A. Thus, the first Haas exception to the
general rule that a plaintiff cannot assert claims on behalf of a class against a defendant
with whom the plaintiff has had no contact is applicable to this case.


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class even though common issues of law or fact are present.’” Marcus v. BMW of N. Am.,

LLC, 687 F.3d 583, 598 (3d Cir. 2012) (quoting 7A CHARLES ALAN WRIGHT, ARTHUR R.

MILLER, MARY KAY KANE, RICHARD L. MARCUS, A. BENJAMIN SPENCER & ADAM N. STEINMAN,

FEDERAL PRACTICE & PROCEDURE § 1764 (3d ed. 2005)). “The criterion acts as a bar to

class certification only when ‘the legal theories of the named representatives potentially

conflict with those of the absentees.’” Newton v. Merrill Lynch, Pierce, Fenner & Smith,

Inc., 259 F.3d 154, 183 (3d Cir. 2001), as amended (Oct. 16, 2001) (quoting Georgine v.

Amchem Products, Inc., 83 F.3d 610, 631 (3d Cir. 1996)). Typicality “ensur[es] that the

class representatives are sufficiently similar to the rest of the class—in terms of their legal

claims, factual circumstances, and stake in the litigation--so that certifying those

individuals to represent the class will be fair to the rest of the proposed class.” In re

Schering Plough Corp. ERISA Litig., 589 F.3d 585, 597 (3d Cir. 2009).

       There exists a “low threshold for satisfying” the requirement of typicality. Newton,

259 F.3d at 183. The factual and legal bases of each class members’ claim may differ.

Id. “If the claims of the named plaintiffs and putative class members involve the same

conduct by the defendant, typicality is established regardless of factual differences.” Id.

at 183-84 (citing Barnes v. Am. Tobacco Co., 161 F.3d 127, 141 (3d Cir. 1998)). “[E]ven

relatively pronounced factual differences will generally not preclude a finding of typicality

where there is a strong similarity of legal theories.” Baby Neal for and by Kanter v. Casey,

43 F.3d 48, 58 (3d Cir. 1994). “If a plaintiff's claim arises from the same event, practice

or course of conduct that gives rise to the claims of the class members, factual differences

will not render that claim atypical if it is based on the same legal theory as the claims of




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the class.” Marcus, 687 F.3d at 598 (citing Hoxworth v. Blinder, Robinson & Co., 980 F.2d

912, 923 (3d Cir.1992)).

       “Where an action challenges a policy or practice, the named plaintiffs suffering one

specific injury from the practice can represent a class suffering other injuries, so long as

all the injuries are shown to result from the practice.” Baby Neal, 43 F.3d at 58. The Third

Circuit Court of Appeals has explained:

               Our jurisprudence “assures that a claim framed as a violative practice
       can support a class action embracing a variety of injuries so long as those
       injuries can all be linked to the practice.” Baby Neal, 43 F.3d at 63
       (discussing Falcon, 457 U.S. 147, 102 S.Ct. 2364). As a result, we have
       concluded that the requirement “does not mandate that all putative class
       members share identical claims,” Barnes, 161 F.3d at 141, because “ ‘even
       relatively pronounced factual differences will generally not preclude a
       finding of typicality where there is a strong similarity of legal theories' or
       where the claim arises from the same practice or course of conduct.”
       Prudential, 148 F.3d at 311 (quoting Baby Neal, 43 F.3d at 58); Hoxworth
       II, 980 F.2d at 923.

Newton, 259 F.3d at 184.

       To determine whether a named plaintiff’s claims are typical of the claims of the

proposed class members, courts focus on three concerns:

       (1) The claims of the class representative must be generally the same as
       those of the class in terms of both (a) the legal theory advanced and (b) the
       factual circumstances underlying that theory; (2) the class representative
       must not be subject to a defense that is both inapplicable to many members
       of the class and likely to become a major focus of the litigation; and (3) the
       interests and incentives of the representative must be sufficiently aligned
       with those of the class.

In re Schering Plough, 589 F.3d at 599.




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       The parties’ arguments with respect to typicality raise only the first issue 12 whether

the claims of the named plaintiffs are generally the same in legal theory and fact.

Defendants conceded that the “underlying legal theory of Plaintiffs’ claims may apply

class-wide.” (ECF No. 124-1 at 23.) Defendants argue, however, that the factual

underpinnings of the claims, e.g., terms of employment, would be individually-negotiated

or employee-specific with respect to an employee who has special skills in the industry

as opposed to an employee without skills specific to the industry. (Id.) Plaintiffs’ claims

and the claims of the proposed class are all based upon Knorr, Wabtec, and Faiveley

N.A. agreeing to restrain competition for all levels of employees, which allegedly caused

the suppression of their employees’ compensation and deprived the employees of free

and fair competition in the market for their services (ECF No. 88 ¶ 78.) A fair reading of

the consolidated class action complaint is that the agreements by Knorr, Wabtec, and

Faiveley N.A. applied to all defendants’ employees, whether highly skilled in the railway

equipment supply industry or without skills specific to that industry.

       The Third Circuit Court of Appeals has explained: “If a plaintiff's claim arises from

the same event, practice or course of conduct that gives rise…to the claims of the class

members, factual differences will not render that claim atypical if it is based on the same

legal theory as the claims of the class.” Marcus, 687 F.3d at 598. Plaintiffs allege that

defendant’s antitrust violation was the same for all members of the proposed classes, i.e.,

defendants entered into three bilateral agreements and one overarching conspiracy to



12       All defenses that might be raised appear to be applicable to many members of
the class. Defendants do not argue that the interests or incentives of the representative
plaintiffs are not sufficiently aligned with those of the class. Plaintiffs and proposed
members of the class were all employees of defendants or their wholly-owned
subsidiaries.
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restrain competition for all their employees, which resulted in the suppression of

compensation for all members of the proposed class. The legal theory for plaintiffs and

the proposed classes and the factual basis for those claims are generally the same. The

factual differences about each plaintiff cited by defendant do not defeat a finding of

typicality at this stage of the case. See Id.

       In Marcus, the defendants argued the plaintiff’s claims were not typical of the class

because the plaintiff purchased only one kind of product that was at issue in the case and

the proposed class included purchasers of a variety of different products. Marcus, 687

F.3d at 599. The court rejected the defendants’ argument and explained: “When a class

includes purchasers of a variety of different products, a named plaintiff that purchases

only   one   type   of product satisfies the         typicality   requirement   if the   alleged

misrepresentations or omissions apply uniformly across the different product types.” Id.

The named plaintiff’s allegations about the defendants’ conduct in the case with respect

to the products in issue was the same for all products purchased by the members of the

proposed class. Id. The court of appeals affirmed the district court’s conclusion that

typicality was satisfied on that basis. Id.

       Defendants cite Semenko v. Wendy’s International, Inc., Civ. Action No. 12-0836,

2013 WL 1568407 (W.D. Pa. Apr. 12, 2013), in support of their argument that typicality is

not satisfied in this case. Semenko, however, is distinguishable from this case. In

Semenko, the plaintiff sued her former employer, Wendy’s, for, among other things, failing

to accommodate her under the American with Disabilities Act, 42 U.S.C. § 12101, et seq.

(the “ADA”). The plaintiff also sought to represent a class of individuals. The court found

that the plaintiff’s claims were not typical of the class because “the facts and evidence



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needed to prove the claims of each member of the proposed class…[would] be unique to

each claimant.” Id. at *9. For example, a determination whether each member of the

proposed class was entitled to recovery under the ADA would be a “highly individualized

inquiry” and proof of the plaintiff’s claims would “not prove the claims of other class

members.” Id. The court explained: “‘If proof of the representatives’ claims could not

necessarily prove all of the proposed class members’ claims, the representatives are not

typical of the proposed members’ claims.’” Id. (quoting Liberty Lincoln Mercury v. Ford

Mktg. Corp., 149 F.R.D. 65, 77 (D.N.J. 1996)).

       The district court in Semenko, however, read too narrowly the Court of Appeals for

the Third Circuit’s jurisprudence with respect to typicality. The court of appeals has

instructed that “[t]he typicality requirement is intended to preclude certification of those

cases where the legal theories of the named plaintiffs potentially conflict with those of

absentees.” Georgine, 83 F.3d at 631. The correct inquiry is “whether the named plaintiffs

have incentives that align with those of absent class members so that the absentees’

interests will be fairly represented.” Id. Typicality does not require that “all putative class

members share identical claims.” Barnes v. Am. Tobacco Co., 161 F.3d 127, 141 (3d Cir.

1998). Factual differences, even “‘relatively pronounced’” factual differences, between the

named plaintiff’s claims and the claims of the putative class are acceptable so long as

“‘there is a strong similarity of legal theories.’” Id. (quoting Baby Neal, 43 F.3d at 58). The

Third Circuit Court of Appeals in its assessment of typicality does not require proof of the

named plaintiffs’ claims to prove the claims of the putative class. In this case, the factual

differences between the named plaintiffs and the members of the putative class may be

“relatively pronounced” but defendants do not argue that those factual differences create



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a conflict between the interests of the named plaintiffs and the interests of the putative

class members. The factual differences, therefore, do not render the named plaintiffs’

claims atypical of the claims of the proposed class members.

       Plaintiffs in the consolidated class action complaint rely upon the same factual

allegations to show the named plaintiffs and the proposed class were injured by

defendants’ three bilateral agreements and one overarching agreement, which are per se

violative of § 1 of the Sherman Act. Here, based upon the factual allegations in the

consolidated class action complaint, plaintiffs’ claims arise “from the same event, practice

or course of conduct that gives rise to the claims of the class members[.]” Marcus, 687

F.3d at 598. The factual differences emphasized by defendants, e.g., employees highly

skilled in the railway equipment supply industry versus employees without skills specific

to that industry, do “not render…[plaintiffs’ claims] atypical” because the claims are

“based on the same legal theory as the claims of the class[,]” i.e., a violation of § 1 of the

Sherman Act. Id. In Semenko, however, Wendy’s conduct in failing to provide reasonable

accommodations would necessarily be different with respect to each member of the class

because of the individualized inquiry required with respect to a person’s disability and his

or her need for accommodation. The court, therefore, is not persuaded by defendants’

citation to Semenko because the individualized inquiries in an ADA claim are not present

in this case.

       Defendants also cite to dictum from Todd v. Exxon Corp., 275 F.3d 191 (2d. Cir.

2001), in support of their argument that plaintiffs cannot satisfy the typicality requirement

of Rule 23. In Todd, a former employee of Exxon on behalf of herself and a proposed

class sued Exxon and thirteen other “major companies in the integrated oil and



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petrochemical industry” alleging that they “violated § 1 of the Sherman Act by regularly

sharing detailed information regarding compensation paid to nonunion managerial,

professional, and technical…employees and using this information in setting the salaries

of these employees at artificially low levels.” Id. at 195. The members of the plaintiff’s

proposed class included, among others, accountants, lawyers, and chemical engineers.

Id. at 201. The defendants filed a motion to dismiss under Rule 12(b)(6). The district court

granted the motion and the plaintiff appealed. Id. at 198.

       The court of appeals recognized that the plaintiff did not assert a claim alleging “an

actual agreement among defendants to fix salaries[,]” which would be a per se violation

of the antitrust laws; rather, the plaintiff set forth a claim alleging the defendants unlawfully

exchanged information, which is subject to the rule of reason analysis. Id. at 199. The

court explained that the “basic framework for the rule of reason” for an information-

exchange claim under § 1 was as follows: “‘A number of factors including most

prominently the structure of the industry involved and the nature of the information

exchanged are generally considered in divining the procompetitive or anticompetitive

effects of this type of interseller communication.’” Todd, 275 F.3d at 199 (quoting United

States v. United States Gypsum, Co., 438 U.S. 422, 441 n.16 (1978)). The court of

appeals explained that under Gypsum, an important factor to consider in a “data

exchange” case was the market power of the defendants, which may include defining the

relevant market and showing the defendants’ percentage share of that market. Id. The

district court found that the plaintiff did not plead a plausible market because she did not

show that the products at issue, i.e., the employees, were “reasonably interchangeable

or that there…[was] a cross-elasticity of demand for potential substitutes.” Id. at 201.



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       The court of appeals disagreed with the district court because the relevant inquiry

in a case involving a buyer-side conspiracy is the market power of the buyers, i.e., the

defendant companies in Todd, and not the interchangeability of the sellers’ products, i.e.,

the plaintiff-employees in Todd. Id. at 201-02 (agreeing with the plaintiff that “the proper

focus is…the commonality and interchangeability of the buyers, not the commonality or

interchangeability of the sellers.”). The court of appeals explained:

       The question is not the interchangeability of, for example, lawyers with
       engineers. At issue is the interchangeability of, from the perspective of
       an…employee, of a job opportunity in the oil industry with, for example, one
       in the pharmaceutical industry.

Todd, 275 F.3d at 202. On that basis and for other reasons explained in the opinion that

are not relevant to this case, the court of appeals found that the plaintiff set forth factual

allegations sufficient to plead a plausible product market. Id. at 206.

       In a footnote the Todd court explained that the district court’s conclusions about

the interchangeability of the prospective jobs may have implications in whether the

plaintiff could satisfy her burden under Rule 23 to show typicality and predominance. The

court of appeals commented:

       The observation by the district court and defendants about the large
       differences among the various MPT jobs is better understood not as
       speaking to interchangeability, but as indicating that not all MPT employees
       are affected by the conspiracy in the same way—thus creating potential
       difficulties with class certification. While interchangeability of the different
       types of employees is not an element of market definition in an oligopsony,
       the different types of employees will differ in how they must prove the
       interchangeability among employers. For example, as the district court and
       defendants point out, oil industry employers may not be interchangeable
       with pharmaceutical industry employers from the standpoint of a petroleum
       geologist, but the two may be more interchangeable from the standpoint of
       a labor lawyer. More importantly, the means of proof may be quite different;
       at trial the geologists must present evidence of the relative job prospects for
       geologists outside the oil industry, while the lawyers must explore the legal
       job market. That this large class might have difficulty meeting the


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       predominance and typicality requirements for Rule 23 certification,
       however, does not indicate that plaintiff fails to state a claim upon which
       relief can be granted.

Todd, 275 F.3d at 202 n.5. First, the foregoing passage is dictum. Second, the court noted

that the named plaintiffs “might have difficulty meeting the…typicality” requirement but

did not foreclose the possibility that the named plaintiffs could establish that their claims

were typical of the putative class members’ claims. Id. Third, the foregoing passage is

consistent with the law set forth by this court in this opinion. As explained above, the

existence of factual differences between the claims of the named plaintiff and the claims

of the members of the putative class is relevant to the court’s assessment of typicality. If

the claims of the named plaintiffs and the claims of the putative class are based upon the

same course of conduct by the defendant, however, the factual differences between the

named plaintiffs’ claims and the claims of the putative class members might not render

the named plaintiff’s claims atypical unless the factual differences create a conflict of

interest between the named plaintiff and members of the putative class. The footnote from

Todd cited above, therefore, is not inconsistent with this court’s understanding of the

typicality requirement under Rule 23.

       At this stage, plaintiffs allege that defendants violated § 1 of the Sherman Act when

they entered into three bilateral agreements and one overarching agreement to not poach

each other’s employees, which included all employees of the defendants and their wholly-

owned subsidiaries. Plaintiffs allege that those agreements impacted the compensation

of all employees of defendants and their wholly-owned subsidiaries. There may be

factual differences among the various kinds of employees in the putative class, but, at

this stage, the court cannot conclude that those differences create a conflict of interest



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between the named plaintiffs and the members of the putative class that render the claims

of the named plaintiffs atypical compared to the claims of the putative class. 7A CHARLES

ALAN WRIGHT, ARTHUR R. MILLER, MARY KAY KANE, FEDERAL PRACTICE AND PROCEDURE §

1764 (3d ed. 2005) (“In general, the requirement [of typicality] may be satisfied even

though varying fact patterns support the claims or defenses of individual class

members…or there is a disparity in the damages claimed by the representative parties

and the other class members.”) (citing, e.g., In re Orthopedic Bone Screw Prod. Liab.

Litig., 176 F.R.D. 158, 175 (E.D. Pa. 1997) (“[T]he fact that individual class members may

recover varying amounts from the settlement fund does not defeat typicality.”)).

         Based upon the foregoing, the court is satisfied that the factual allegations in the

consolidated class action complaint show that it is likely that discovery will reveal

evidence that the claims of the named plaintiffs are typical of the claims of the putative

class.

         3. Rule 23(b) Predominance Requirement

         “The predominance inquiry tests whether the proposed class is sufficiently

cohesive to warrant adjudication by representation.” In re Cmty. Bank of N. Virginia, 418

F.3d 277, 308–09 (3d Cir. 2005). One court has explained:

         “Issues common to the class must predominate over individual issues.”
         Hydrogen Peroxide, 552 F.3d at 311. “Individual questions need not be
         absent.... [Rule 23(b)(3) ] requires only that those questions not
         predominate over the common questions affecting the class as a whole.”
         Messner v. Northshore Univ. HealthSystem, 669 F.3d 802, 815 (7th
         Cir.2012). “Because the nature of the evidence that will suffice to resolve a
         question determines whether the question is common or individual, a district
         court must formulate some prediction as to how specific issues will play out
         in order to determine whether common or individual issues predominate in
         a given case.” Hydrogen Peroxide, 552 F.3d at 311 (internal quotation
         marks and citation omitted). “If proof of the essential elements of the cause
         of action requires individual treatment, then class certification is unsuitable.”


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       Id. (citing Newton v. Merrill Lynch, Pierce, Fenner & Smith, Inc., 259 F.3d
       154, 172 (3d Cir.2001)).

In re Flonase Antitrust Litig., 284 F.R.D. 207, 219 (E.D. Pa. 2012). “An individual question

is one where ‘members of a proposed class will need to present evidence that varies from

member to member,’ while a common question is one where ‘the same evidence will

suffice for each member to make a prima facie showing [or] the issue is susceptible to

generalized, class-wide proof.’” Tyson Foods, Inc. v. Bouaphakeo, 136 S.Ct. 1036, 1045

(2016) (quoting 2 WILLIAM B. RUBENSTEIN, ALBA CONTE, HERBERT NEWBERG, NEWBERG ON

CLASS ACTIONS § 4:50 (5th ed. 2012)).

       “The analysis of whether questions of law or fact common to class members

predominate begins with the elements of the underlying cause of action.” In re Lithium Ion

Batteries Antitrust Litig., No. 13-MD-2420 YGR, 2017 WL 1391491, at *8 (N.D. Cal. Apr.

12, 2017) (citing Erica P. John Fund, Inc. v. Halliburton Co., 563 U.S. 804 (2011)). “The

three relevant elements of an antitrust claim that must be capable of common proof for

the class to be certified under Rule 23(b)(3) are: (1) violation of antitrust laws, (2) antitrust

impact, and (3) measurable damages.” In re: Domestic Drywall Antitrust Litig., 322 F.R.D.

188, 201 (E.D. Pa. 2017) (citing Hydrogen Peroxide, 552 F.3d at 311–12). As discussed

above, plaintiffs set forth factual allegations sufficient to show plausibly that the

defendants engaged in three bilateral agreements and an overarching conspiracy to not

poach each other’s employees, which means there could be an antitrust violation which

might be common to all members of a properly defined class who were employees of

defendants or their wholly-owned subsidiaries. The issue whether there was a violation

of the antitrust laws could be, therefore, common to the class.

       With respect to the second element, i.e., antitrust impact, one court explained:

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       Antitrust impact refers to injury—that is, each plaintiff must show that it
       suffered injury as a result of the defendants' unlawful behavior. Id. (citing
       Bogosian v. Gulf Oil Corp., 561 F.2d 434, 454 (3d Cir. 1977)). Though
       plaintiffs need not prove the element of antitrust impact at the class
       certification stage, they must “demonstrate that the element of antitrust
       impact is capable of proof at trial through evidence that is common to the
       class rather than individual to its members.” Id.

Domestic Drywall, 322 F.R.D. at 201. Antitrust impact refers to the “fact of damage…as

opposed to the extent of damage.” In re Flonase Antitrust Litig., 284 F.R.D. 207, 220 (E.D.

Pa. 2012). The Third Circuit Court of Appeals has explained: “In antitrust cases, impact

often is critically important for the purpose of evaluating Rule 23(b)(3)’s predominance

requirement because it is an element of the claim that may call for individual, as opposed

to common, proof.” Hydrogen Peroxide, 552 F.3d at 311. “[F]or cases involving antitrust

violations, common issues do not predominate unless the issue of impact is also

susceptible to class-wide proof.” In re High-Tech Employee Antitrust Litig., 289 F.R.D.

555, 566 (N.D. Cal. 2013) (“High-Tech I”) (collecting decisions).

       Here, defendants argue that plaintiffs will not be able to satisfy their burden to show

predominance with respect to antitrust impact because the “expansive class definition will

require the Court to consider each employee’s contract, salary history, professional

qualifications, geographic location and willingness to relocate, and fungibility within labor

markets, when determining proof of both antirust injury and damages.” (ECF No. 124-1

at 26.) Plaintiffs argue in opposition that defendants failed to satisfy their burden to show

that it is a “‘clear impossibility’…that predominance requirements can be met in the instant

case.” (ECF No. 152 at 30 (quoting Dieter, 2018 WL 6191586, at *6.)

       As discussed above, however, plaintiffs in the first instance have the “‘burden of

advancing a prima facie showing that the class action requirements of Fed. R. Civ. P. 23



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are satisfied or that discovery is likely to produce substantiation of the class allegations.’”

Trunzo, 2018 WL 741422, at *4 (quoting Mantolete, 767 F.2d at 1424). Plaintiffs point out

that in the consolidated class action complaint they alleged that defendants’ agreements

applied to all employees regardless of title, position, or status and that each agreement

harmed each plaintiff regardless of his or her employer because every agreement

“‘disrupted the normal bargaining and price-setting mechanisms that apply in the labor

market,’ causing ‘suppressed compensation levels generally.’” (ECF No. 152 at 20, 27.)

Plaintiffs’ allegations in this respect are mostly conclusory but may show plausibly that all

defendants’ employees were subject at some point in time to the overarching conspiracy

and the bilateral agreements entered into by Wabtec, Knorr, and Faiveley N.A., and that

employees may have been harmed by those agreements. Plaintiffs, however, do not set

forth sufficient factual allegations to advance a prima facie showing that antitrust impact

is capable of proof on a class-wide basis for a class comprised of all employees or that

at the least discovery is likely to produce evidence to substantiate plaintiffs’ conclusory

allegations with respect to predominance.

       The Third Circuit Court of Appeals has rejected “the notion that antitrust injury in

an employee boycott or no hire context can never be proven by common evidence.”

Weisfeld v. Sun Chem. Corp., 84 F. App’x 257, 256 (3d Cir. 2004). The court of appeals

recognized that evidence showing that compensation of the class members was

correlated over time may be evidence to show that antitrust injury in a wage suppression

case may be proven on a classwide basis. Id. at 264. Other courts in wage suppression

or no-hire cases have certified classes and found antitrust impact could be proven on a

class-wide basis when there is evidence that the class members’ wages were correlated



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and the defendant-employers emphasized internal or external equality, which ensured

“individuals performing similar jobs are compensated on a similar level.” Nitsch v.

Dreamworks Animation SKG, Inc., 315 F.R.D. 270, 293 (N.D. Cal. 2016); Seaman v.

Duke Univ., No. 1:15-CV-462, 2018 WL 671239, at *8 (M.D.N.C. Feb. 1, 2018); In re:

High-Tech Employee Antitrust Litigation, 985 F.Supp.2d 1167 (N.D. Cal. 2013) (“High-

Tech II”). Plaintiffs in this case, however, failed to set forth any factual allegations about

defendants’ compensation structures to make prima facie showing that antitrust impact is

capable of proof on a class-wide basis for all employees or that at least it is likely that

discovery will reveal evidence that antitrust impact is capable of proof on a class-wide

basis for all employees.

       In Nitsch, former employees of animation and visual effects studios on their own

behalf and on behalf of a proposed class sued the studios alleging they conspired to fix

and suppress employee compensation and to restrict employee mobility under § 1 of the

Sherman Act. Nitsch, 315 F.R.D. at 274. The named plaintiffs were “artists and engineers

who were previously employed by four of the name Defendants.” Id. at 275. The plaintiffs

defined the proposed class as follows:

       All animation and visual effects employees employed by defendants in the
       United States who held any of the jobs listed in Ashenfelter Report Appendix
       C during the following time periods: Pixar (2001-2010), Lucasfilm Ltd., LLC
       (2001-2010), DreamWorks Animation SKG, Inc. (2003-2010), The Walt
       Disney Company (2004-2010), Sony Pictures Animation, Inc. and Sony
       Pictures Imageworks, Inc. (2004-2010), Blue Sky Studios, Inc. (2005-2010)
       and Two Pic MC LLC f/k/a ImageMovers Digital LLC (2007-2010). Excluded
       from the Class are senior executives, members of the board of directors,
       and persons employed to perform office operations or administrative tasks.

Id. at 281. The plaintiffs filed a motion for class certification. Id. at 274. The court

addressed, among other things, whether common questions would dominate with respect



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to antitrust impact, i.e., “whether Plaintiffs have presented a sufficiently reliable theory to

demonstrate that common evidence can be used to demonstrate impact.” Id. at 292. The

court—after a review of the “extensive documentary evidence, economic theory, data,

and expert statistical modeling”—found the plaintiffs satisfied their burden to prove

predominance. Id.

       The court provided the following summary with respect to the plaintiffs’ evidence

of class-wide antitrust impact:

       First, Plaintiffs present evidence that Defendants' anti-solicitation
       agreements and collusion over compensation policies would have had the
       effect of directly suppressing compensation for some class members.
       Second, Plaintiffs present evidence that because of the ways in which
       Defendants determined compensation for employees generally, including
       the use of formal compensation structures that are not inherently collusive,
       the collusive suppression of compensation for certain class members would
       have spread throughout the class and suppressed compensation to anti-
       competitive levels classwide.

Nitsch, 315 F.R.D. at 292. The plaintiffs alleged that the defendant-employers’ agreement

to stop cold-calling each other’s employees and collusion with respect to compensation

suppressed the compensation of class members. The plaintiffs in support of those

allegations presented documentary and expert evidence to show that:

       -   “cold-calling” was a “recruitment tool that Defendants viewed as likely to yield
           the most valuable recruits” and caused the dissemination of information about
           salaries and benefits of one defendant-employer to the employees’ of another
           defendant-employer;

       -   the defendant-employers’ agreement to stop cold-calling each other’s
           employees restricted the dissemination of the information with respect to
           salaries and benefits; and

       -   the defendant-employers colluded to suppress compensation by exchanging
           compensation information.



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Id. at 292-93. The plaintiffs also presented evidence to the court to show that the

compensation suppression “spread throughout the class” because the defendant-

employers had “compensation structures that prioritized ‘internal’ and ‘external’ equity.”

Id. at 293. The compensation structures “organize[d] employees by job titles whose

compensation ranges were evaluated by reference to all other job titles within each

company.” Id. Thus, the “upward pressure” placed on the salaries of the employees who

received the cold-calls would impact all other salaries of each defendant. Nitsch, 315

F.R.D. at 293. Because the defendant-employees shared compensation information, the

suppression of one employee’s salary would impact the salaries of employees in a similar

position and employed by all defendants. Id.

       The court in Nitsch explained:

       Plaintiffs argue that Defendants' alleged antitrust violations would have
       directly suppressed compensation for some class members. Then, as a
       result of Defendants' emphasis on internal equity, compensation
       suppression would have spread beyond the employees directly affected by
       the antitrust violations to impact all class members within each Defendant.
       At the same time, Defendants' goal of maintaining external equity would
       have spread the effects of compensation suppression between Defendants.
       This is the same approach to showing classwide antitrust impact approved
       by this Court in High–Tech. See High–Tech, 985 F.Supp.2d at 1206
       (describing the approach to demonstrating classwide antitrust impact by
       showing direct impact to some class members combined with evidence of
       internal and external equity).

Nitsch, 315 F.R.D. at 293. The court held that based upon the foregoing, the plaintiffs

satisfied their burden to show that the common questions predominated over

individualized questions with respect to the issue of antitrust impact. Id. at 303-04.

       In High-Tech, the plaintiffs sued their employers who were seven high-tech

companies. High-Tech II, 985 F.Supp.2d at 1171. The plaintiffs alleged that the

defendants “conspired to suppress, and actually did suppress, employee compensation

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to artificially low levels by agreeing not to solicit each other’s employees” in violation of §

1 of the Sherman Act. Id. The plaintiffs had filed a motion to certify a class, which the

court in a previous decision (High-Tech I) denied because the plaintiffs did not satisfy

their burden to show that common issues predominated over individualized issues with

respect to antitrust impact. High-Tech I, 289 F.R.D. at 583. The court in High-Tech I held,

however, that common issues predominated over individualized issues with respect to

the antitrust violation and damages. Id. The plaintiffs in their first motion to certify the class

proposed a class definition that covered all the defendants’ employees and a second

class definition that covered only technical employees. Id. The plaintiffs’ evidence heavily

focused on the proposed class of all employees. Id.

       The plaintiffs in High-Tech I offered an expert to opine about whether antitrust

impact could be proven on a class-wide basis. The district court held that the plaintiffs’

expert’s theories showed that common proof could be used to show that the defendants’

“anti-solicitation agreements suppressed compensation broadly[,]” i.e., across the class.

High-Tech I, 289 F.R.D. at 570. The court explained the expert’s theories as follows:

       Essentially, Dr. Leamer opines that, by virtue of the interplay between
       information economics and considerations of internal equity, cold-calls
       would have transmitted information to, and put competitive pressure on,
       [Redacted]. See Reply at 16; see also Leamer Rep. ¶ 104. Dr. Leamer
       further hypothesizes that, by virtue of entering into the anti-solicitation
       agreements, firms are able to be more relaxed in maintaining competitive
       compensation packages because such agreements: (1) “suppress
       competition directly;” (2) “reduce the risk of employees becoming aware of
       pay practices elsewhere;” and (3) “otherwise eliminate competition for
       ‘passive’ employees.” Leamer Rep. ¶ 106.

Id. at 569 (redactions in original). “A key component” of the plaintiffs’ expert’s opinion was

that the wage structure of the defendants was rigid, i.e., “compensation for employees

with entirely different titles would necessarily move together through time such that a

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detrimental impact to an employee with one job title would necessarily result in an impact

to other employees in entirely different jobs (i.e., that any impact would ripple across the

entire salary structure).” Id. at 577-78. The court explained that while the plaintiffs’

expert’s theory showed that antitrust impact was susceptible to common proof, that

“theory” is not sufficient to satisfy the predominance requirements of Rule 23. The court

had to consider the “reliable evidence” upon which the plaintiffs’ expert relied to arrive at

his theory. Id. at 570 (“Plaintiff must provide ‘properly analyzed, reliable evidence’ that a

common method of proof exists to prove impact on a class-wide basis’”) (quoting In re

Graphics Processing Units Antitrust Litig., 253 F.R.D. 478 (N.D. Cal. 2008)).

       The court determined that the evidence available to the plaintiffs at the time they

filed the motion for class certification did not support the plaintiffs’ expert’s theory that

antitrust impact could be proven on a class-wide basis, and, therefore, common issues

with respect to the impact of antitrust violation on all employees or all technical employees

would predominate under Rule 23. For example, the evidence did not show that the wage

structures of the defendants were sufficiently rigid so that an impact on the wages of one

member of the class would “ripple across the entire salary structure.” Id. at 577-78 (“Thus,

these charts shed little light on whether compensation for more disparate title (e.g., a

custodian at an Intel office in Texas and an engineer at an Intel office in California) moved

together over time.”). The court did find, however, that the plaintiffs’ expert’s opinion that

damages could be proven on a class-wide basis was supported by reliable evidence. Id.

at 582. The court explained:

       The Court is generally persuaded that the Conduct Regression is capable
       of: (1) showing that, while the anti-solicitation agreements were in effect,
       Defendants' total expenditures on compensation were less than they should
       have been, and (2) providing an estimate of the net amount by which

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       Defendants    were   under-compensating      their employees      (class-wide
       damages).
                                         …
       [T]he Conduct Regression does provide a method of estimating the
       aggregate undercompensation to Defendants’ employees on a year-by-
       year and defendant-by-defendant basis.

High-Tech I, 289 F.R.D. at 579, 582. The court concluded that the plaintiffs’ expert’s

method of calculating damages was consistent with the plaintiffs’ theory of liability, and

the plaintiffs established a plausible method for providing an estimate of damages for the

all-employee proposed class and the technical proposed class. Id. at 582. The court held

that under those circumstances, plaintiffs satisfied their burden to show predominance

with respect to damages. Id. at 582-83.

       The court, however, explained that it would deny the motion for certification

because it had “concerns”: (1) about “whether the evidence will be able to show that

Defendants maintained such rigid compensation structures that a suppression of wages

to some employees would have affected all or nearly all Class members[;]” and (2) that

“Plaintiffs' proposed classes may be defined so broadly as to include large numbers of

people who were not necessarily harmed by Defendants' allegedly unlawful conduct.” Id.

at 583.

       Underlying the court’s opinion in High-Tech I, however, were issues with respect

to discovery. After the hearing on the motion for class certification, the defendants

“produce[d] significant amounts of discovery” (over ten thousand documents) and “[made]

key witnesses available for depositions” (fifty high-ranking employees) Id. at 584.

Additionally, the defendants’ response to the motion for class certification “relied heavily

on declarations from Defendants’ current employees, some of whom were not timely

disclosed and whose documents were not produced to Plaintiffs.”          High-Tech I, 289

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F.R.D. at 584. On that basis, the court concluded that “some of the recently produced

discovery may affect Plaintiffs’ ability to satisfy the predominance requirement for one or

both of their proposed Classes.” Id. Specifically, the court explained its “belief” that “with

the benefit of the discovery that has occurred since the hearing on this motion, Plaintiffs

may be able to offer further proof to demonstrate how common evidence will be able to

show class-wide impact to demonstrate why common issues predominate over individual

ones.” Id. at 583.

       The plaintiffs in High-Tech I filed a supplemental motion for class certification,

which was addressed in High-Tech II. High-Tech II, 985 F.Supp.2d at 1171. The plaintiffs

in the supplemental motion “moved to certify only the Technical Class[,]” which consisted

of: “salaried technical, creative, and research and development employees who worked

for any Defendant while that Defendant participated in at least one anti-solicitation

agreement with another Defendant.” Id. at 1177 n.5. The plaintiffs excluded from their

class definition “retail employees” among others. Id. at 1177. The members of the

proposed class consisted of fourteen different job titles of technical employees. Id. at

1177-78.

       The court in its discussion of predominance and antitrust impact in High-Tech II

recognized that the plaintiffs set forth “substantial evidence, including documentary

evidence and expert reports using statistical modeling, economic theory, and data, to

demonstrate that common questions will predominate over individual questions in

determining the impact of the antitrust violations.” Id. at 1192. The court found that the

evidence “paint[ed] a picture of Defendants’ business practices and the market in which

Defendants operate that suggests that common proof could be used to demonstrate the



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impact of Defendants’ actions on Technical Class members.” Id. Under those

circumstances and after a “rigorous” review of the evidence, the court concluded that

plaintiffs’ proposed methodology satisfied the predominance standard. Id.       The court

explained:

      Specifically, the record suggests that all technical employees—not just
      those who would have received cold calls but for the anti-solicitation
      agreements—may have been impacted by the agreements. Plaintiffs note
      that cold calling, a recruitment tool that Defendants viewed favorably, has
      the effect of spreading information about salaries and benefits from
      recruiters of one firm to employees of another. Leamer Rep. ¶ 71–76. Such
      information could then spread to other employees within a firm and beyond,
      leading to widespread increases in employee compensation across the
      labor market due to increased access to information. Id.

      Further, Plaintiffs contend that Defendants had company-wide
      compensation structures, which organized employees into job groups,
      levels, and families that were evaluated and paid in relationship to all other
      groups. Suppl. Mot. at 15–22. In addition, Defendants valued internal equity
      (the idea that similarly situated employees should be compensated
      similarly) within their firms. Id. Because of a desire to maintain equity
      between employees, the upward pressure that cold calls placed on the
      salaries of individual employees who would have received the calls would
      have also affected other employees who were part of the same salary
      structure. As such, variances in individual employees' salaries would affect
      other employees who were in a similar position. Each Defendant's
      compensation structure could then have been influenced by the other
      Defendants' structures as Defendants saw each other as competitors for
      the same labor pool.

      Finally, Plaintiffs point to the fact that Defendants were motivated to retain
      their employees. This, Plaintiffs contend, would have motivated each
      Defendant to provide financial incentives to employees to respond to and to
      prevent poaching by other Defendants. Leamer Rep. ¶ 105. Yet, because
      of the anti-solicitation agreements, Defendants did not need to initiate such
      measures, which would have benefitted the entire Technical Class.

High-Tech II, 985 F.Supp.2d at 1192. The court concluded that “the extensive

documentary evidence, economic theory, data, and expert statistical modeling” supported

the plaintiffs’ expert’s theory of proving common impact. Id. Under those circumstances,



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the class was certified because, among other things, the plaintiffs satisfied their burden

to show that common issues with respect to antitrust impact predominated in the case.

Id.

       In Seaman, the plaintiff, who was an assistant professor of radiology at Duke

University (“Duke”), on behalf of herself and a putative class sued Duke and the University

of North Carolina (“UNC”) under § 1 of the Sherman Act. Seaman, 2018 WL 671239, at

*1. The plaintiff alleged that Duke entered into an agreement with UNC “not to permit

lateral moves of faculty between Duke and UNC.” Id. The plaintiff and UNC settled the

case. Id. at *2. The plaintiff sought to certify “a class of faculty, physicians, nurses, and

skilled medical staff that worked for the defendants.” Id. Duke opposed the motion for

class certification arguing that the plaintiff could not satisfy the predominance requirement

of Rule 23(b). Id. The court found that the parties’ evidence with respect to the “antitrust

violation” element of a § 1 claim was a “common question that…[would] be addressed

with common proof for all proposed class members.” Seaman, 2018 WL 671239, at *4.

       The plaintiff alleged that the UNC and Duke no-poach agreement suppressed

compensation in two ways: (1) UNC and Duke did not have to provide faculty “preemptive

compensation increases…to ensure employee retention[;]” and (2) the “internal equity

structures[ 13]…spread the individual harm of decreased lateral offers and corresponding

lack of retention offers to all faculty, thus suppressing compensation faculty-wide.” Id. at

*4. Although the plaintiff proposed a class comprised of faculty and non-faculty members,

the evidence she presented in support of her motion for class certification was different



13     The court defined “internal equity structures” as “policies and practices that are
alleged to have ensured relatively constant compensation relationships between
employees.” Seaman, 2018 WL 671239, at *4.
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for faculty than it was for non-faculty. The court, therefore, court addressed separately

the plaintiff’s evidence to prove antitrust impact and damages for faculty and non-faculty.

       With respect to the faculty, the court held the plaintiff’s evidence, which included

testimony, expert reports, and documentation, supported her argument that the

defendants’ agreement caused the suppression of compensation for faculty, which could

be proven on a class-wide basis. Id at *4. The court held that the plaintiff’s “preemptive

compensation” theory as applied to the faculty-only class was a “class-wide theory

supported with class-wide proof.” Id. The court explained that the evidence showed that

the medical schools of Duke and UNC were each other’s main competitors for faculty and

the expert evidence showed that “lateral hiring affects compensation generally

and…encourage[d] the defendants to preemptively increase compensation to retain

faculty.” Id. at *5.

       The court held that the plaintiff’s “internal equity structures” theory as applied to

faculty, was also a “class-wide theory supported by class-wide proof.” Seaman, 2018 WL

671239, at *6. The court explained that the expert evidence showed that UNC and Duke

would “reactively increase compensation in response to a competing offer or to address

overall attrition rates[,]” and “the lack of competing offers and corresponding individual

compensation suppressed was spread to all faculty members through the defendants’

internal equity structures.” Id. at *5. The evidence also showed that the suppression of

a faculty member’s compensation caused by the lack of competing offers of employment

was “spread” to all members of the faculty-only class via the defendants’ internal equity

structures. Id. The court explained:

       [The plaintiffs’ experts] explain the general economic theory of how lateral
       hiring increases compensation for employees throughout an organization


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       when that organization manages employee compensation to maintain parity
       within employment categories or to achieve compensation relationships
       between employee categories (e.g., Associate Professors to Assistant
       Professors).

Id. at *5. The court described the evidence with respect to the defendants’ internal equity

structures as follows:

       Dr. Seaman provides documentary and testimonial evidence that Duke and
       UNC maintain internal equity structures for faculty. The evidence shows that
       the UNC defendants have policies that “set[ ] out identical salary ceilings
       across 18 departments by professor level” and expects departments “to
       work towards or maintain average salary profiles by academic rank ...;
       enable recruitment and retention ...; [ ] promote a good morale and sense
       of fair treatment amongst the faculty;” and consider “internal equity among
       groups of otherwise similarly-situated individuals in the [medical school]
       department.” Doc. 151 at ¶¶ 33–39 (summarizing evidence). The UNC
       defendants also perform annual “Salary Equity Review[s]” to “identify[ ]
       instances of potential salary inequity amongst like subsets of faculty” and
       requires an explanation or remedial plan for any inequality that is
       discovered. Id. at ¶ 39.

       While the evidence at Duke is less direct, it shows that the Dean of the
       School of Medicine “signs off” on all department head compensation
       decisions. See, e.g., Doc. 151 at ¶¶ 46, 49. For both new faculty and
       adjustments to current faculty’s compensation, there is documentary
       evidence and testimony to support the assertion that internal equity is
       considered in setting and adjusting compensation, particularly within each
       department. See, e.g., Doc. 151 at ¶¶ 46–51, 54; Doc. 150 at ¶¶ 31, 33, 44–
       48; Doc. 94 at ¶¶ 91, 93, 97–98, 100; Doc. 95 at ¶¶ 54, 58(d), (e).

Seaman, 2018 WL 671239, at *5. One of the plaintiff’s experts performed a regression

analysis to show that “an individual faculty member’s compensation moved in relationship

to other faculty compensation.” Id. With respect to damages for faculty, the court found

the regression analysis proffered by the plaintiff’s expert also satisfied the predominance

requirement of Rule 23(b). Id.

       With respect to the evidence about non-faculty, the court held that the plaintiff’s

theory that the suppression of compensation to faculty caused the suppression of



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compensation for non-faculty presented common questions for the putative class of

nonfaculty “because proving the theory for a single non-faculty class member would prove

it for all.” Id. at *6. The court explained that the plaintiff’s evidence with respect to the non-

faculty theory of proving antitrust impact, i.e., a regression analysis analyzing

compensation metrics for non-faculty and a regression analysis analyzing the relationship

between the compensation of faculty and non-faculty, showed that antitrust impact could

be proven on a class-wide basis for the non-faculty class. 14 Id. The court also found that

the plaintiff’s expert’s calculation of damages for the non-faculty class were based upon

a theory and evidence that was common to the class. Id. at *7.

       The court after discussing the other pertinent requirements of Rule 23, however,

held it would certify a class comprised of only faculty. Id. at 8. The court rejected the

plaintiff’s invitation to certify a class comprised of faculty and non-faculty. Id. The court

explained:

       Dr. Seaman’s theories and evidence differ between faculty and non-faculty
       class members. It is apparent from the briefing on this motion and on the
       plaintiff’s motion to exclude defendants’ experts that the inclusion of faculty
       and non-faculty in the same class is likely to cause significant confusion.
       Disputes already have arisen as to whether witnesses are talking only about
       faculty, only about non-faculty, or both. See Doc. 163 at 22–23. And there
       are extra steps required for a finding of anti-trust impact and damages as to
       non-faculty as compared to faculty; these are not minor steps, but include
       detailed and complicated expert statistical analyses and additional fact
       witnesses. Moreover, the evidence as to non-faculty is substantially weaker,
       at least on this record, since it is based on several inferences-on-inferences;


14      The court found that the plaintiff’s theory that that “the no-hire agreement
affected a subset of non-faculty more directly because they missed out on
compensation increases associated with lateral moves undertaken in connection with a
faculty-lead team” was not supported by any evidence. Seaman, 2018 WL 671239, at *7
n.8. The court explained that the evidence did not “provide any indication or
confirmation that faculty seek compensation increases for non-faculty during lateral
moves.” Id. The court also found that the plaintiff did not set forth a theory or evidence
to calculate damages based upon that theory. Id.
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       this gives rise to the possibility that the strength of the faculty claim or the
       weakness of the non-faculty claim might tend to bleed over to the other
       claim in the jury’s mind. Finally, the plaintiff has put forth one theory as to
       non-faculty that seems to be driven by individualized evidence.

               Collectively these problems—different evidence, the likelihood of
       substantial confusion, potential for unfairness at trial, and the possibility of
       individual issues as to non-faculty—will make it very difficult to manage the
       class. Trial of the relatively straightforward faculty claims would be unduly
       complicated and there is a real potential for unfairness to both the class
       members and the defendant. For these reasons the Court finds that
       including non-faculty in the class would defeat predominance and
       superiority….Reiter, 442 U.S. at 345 (recognizing the district court’s
       discretionary authority to refuse to certify potentially cumbersome class
       actions with manageability issues).

Seaman, 2018 WL 671239, at *8. The court explained that the “[n]on-faculty class

members…[could] pursue a separate class action and obtain the corresponding

economics of time, effort, and expense, and uniformity of decision.” Id. at *8 n.11.

       As discussed above, the Third Circuit Court of Appeals has not foreclosed the

possibility that a class maybe certified in a no-poach wage suppression case. Weisfeld,

84 F. App’x at 256. The foregoing discussion, however, shows that in order for a plaintiff

in a no-poach wage suppression case to satisfy the requirement of predominance with

respect to antitrust impact, there must be evidence that the compensation structures of

the defendants in the pertinent industry were so rigid that the compensations of all class

members were tethered together. 15 This case, unlike those just discussed, is not yet at

the certification stage. Here, at the motion to strike stage, the burden on plaintiffs is less




15       Satisfying the predominance requirement in a no-poach case, i.e., proving
antitrust impact is capable of proof on a class-wide basis, may be an easier task when
the putative class is comprised of a narrow, well-defined subset of employees. Here,
plaintiffs’ task is more difficult because they seek to represent an expansive class of all
defendants’ employees, which includes employees highly skilled in the railway
equipment supply industry and employees without skills specific to that industry.
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than at the certification stage. The court must determine only whether plaintiffs satisfied

their burden to set forth factual allegations to advance a prima facie showing of

predominance or that at least it is likely that discovery will reveal evidence that antitrust

impact may be proven on a class-wide basis for all employees, e.g., evidence that the

compensation structures for all defendants were so rigid that the compensation of all class

members, including employees with skills specific to the railway equipment supply

industry and employees without skills specific to that industry, were tethered together.

Based upon the factual allegations in the consolidated class action complaint, plaintiffs

failed to satisfy their burden with respect to predominance for a class of all defendants’

employees. The allegations for a class of all employees are conclusory in that respect

and the court cannot discern from the allegations anything about the compensation

structures of defendants.

       The motion to strike class allegations will be granted on that basis without

prejudice. If plaintiffs are able to plead sufficient facts about the likelihood that discovery

will reveal structured compensation schedules that affected all employees, plaintiff may

seek to amend the consolidated class action complaint to include those allegations or to

plead a class for which predominance may be shown.

       4. Whether Plaintiffs’ Class Definition is Overbroad

       Even if defendants satisfied their burden at this stage with respect to

predominance, their class definition is overbroad and the court would require it to be

replead. “An order that certifies a class action must define the class….” FED. R. CIV. P.

23. The definition of the class is a matter within the broad discretion of the district court.”

Clarke v. Lane, 267 F.R.D. 180, 194 (E.D. Pa. 2010) (citing Battle v. Commw. of Pa., 629



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F.2d 269, 271 n.1 (3d Cir. 1980)). “Defining the class is of critical importance because it

identifies the persons (1) entitled to relief, (2) bound by a final judgment, and (3) entitled

under Rule 23(c)(2) to the ‘best notice practicable’ in a Rule 23(b)(3) action.” MANUAL FOR

COMPLEX LITIGATION (FOURTH) § 21.222 (2004) (quoting FED. R. CIV. P. 23(c)(2)(B)). Rule

23 is “silent” with respect to the sufficiency of a class definition, Jackson v. Se. Pa. Transp.

Auth., 260 F.R.D. 168, 182 (E.D. Pa. 2009) (citing 5 JAMES W. MOORE, MOORE’S FEDERAL

PRACTICE § 23.21[1] (3d ed. 2019), but the court has a “responsibility to ‘protect absentees

by blocking unwarranted or overbroad class definitions[,]” Sullivan v. CB Investments,

Inc., 667 F.3d 275, 291 (3d Cir. 2011) (quoting In re Cmty. Bank of N. Va., 622 F.3d 275,

291 (3d Cir. 2010)). “The definition must be precise, objective, and presently

ascertainable.” MANUAL FOR COMPLEX LITIGATION (FOURTH) § 21.222 (2004). “All class

certification orders are conditional and ‘the court retains the authority to re-define or

decertify the class until the entry of final judgment on the merits.’” Clarke, 267 F.R.D. at

194 (quoting In re Gen. Motors Corp. Pick-Up Truck Fuel Tank Prod. Liab. Litig., 55 F.3d

768,793 n.14 (3d Cir. 1995)).

       Plaintiffs in the consolidated class action complaint define the putative class as

follows:

       All natural persons employed by, or hired through staffing agencies or
       vendors to work for, Defendants or their wholly owned subsidiaries, in the
       United States, at any time from the start of the conspiracy (no later than
       2009) to the present. Excluded from the class are senior executives and
       personnel in the human resources, recruiting, and legal departments of the
       Defendants, and employees hired outside of the United States to work
       outside of the United States.

(ECF No. 88 ¶ 65.) Plaintiffs intend to represent one class comprised of all persons

employed by any defendant beginning in 2009. The court finds this class definition lacks



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precision based upon the allegations of the consolidated class action complaint. Duffy v.

Massinari, 202 F.R.D. 437, 440 (E.D. Pa. 2001) (“At this stage in the litigation, the Court

also agrees that the proposed class definition is an appropriate one given the allegations

and claims contained in the Amended Complaint.”).

       The reasonable inference drawn from the allegations of the consolidated class

action complaint shows plausibly that the overarching conspiracy among Knorr, Wabtec,

and Faiveley N.A. commenced in 2014 (at the earliest) when Wabtec and Faiveley N.A.

formed the third bilateral conspiracy. Prior to 2014, there existed only two bilateral

conspiracies: (1) between Knorr and Wabtec, formed no later than 2009; and (2) between

Knorr and Faiveley N.A., formed no later than 2011. Based upon the allegations in the

consolidated class action complaint, persons employed by Faiveley N.A. did not enter

into a conspiracy until approximately 2011. Thus, plaintiffs’ class definition that includes

all defendants’ employees from 2009 to the present is overbroad and lacks precision.

Even if plaintiffs had satisfied their burden with respect to predominance, the court would

require the class definition to be amended. See FED. R. CIV. P. 23(d)(1)(D) (“[T]he court

may issue orders that…require that the pleadings be amended to eliminate allegations

about representation of absent persons and that the action proceed accordingly.”).

       Plaintiffs’ failure to set forth a precise class definition, however, is not fatal to their

class action. The Third Circuit Court of Appeals has explained:

       Federal Rule of Civil Procedure 23(c)(5) states that “[w]hen appropriate, a
       class action may be divided into subclasses that are each treated as a class
       under this rule.” An advisory committee note for Rule 23(c) indicates that
       subclasses are appropriate “[w]here a class is found to include subclasses
       divergent in interest.” Accordingly, “[a] district court hearing a class action
       has the discretion to divide the class into subclasses and certify each
       subclass separately.” In re Cendant Corp. Sec. Litig., 404 F.3d 173, 202 (3d


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          Cir.2005). We have explained that the option to utilize subclasses “is
          designed to prevent conflicts of interest in class representation.” Id.

In re Ins. Brokerage Antitrust Litig., 579 F.3d 241, 271 (3d Cir. 2009). Plaintiffs may seek

to file an amended consolidated class action complaint in accordance with Rule 15.

Plaintiffs may include additional factual allegations to make a prima facie showing that

the class allegations are sufficient, i.e., factual allegations from which the court could

reasonably infer that all defendants were engaged in an overarching conspiracy by at

least 2009 or to define a class corresponding to the overarching conspiracy beginning at

the earliest in 2014 and three subclasses corresponding to the three bilateral

conspiracies. 16

          5. Summary

          For the reasons set forth above, defendants’ motion to strike must be granted

without prejudice to plaintiffs in accordance with Federal Rule of Civil Procedure 15 being

able to file an amended consolidated class action complaint setting forth amended class

allegations sufficient to show it is likely discovery will substantiate that antitrust impact on

a class-wide basis can be shown by a common method of proof and to amend the class

definition.

     V.       Conclusion

          The motion to dismiss (ECF No. 124) will be denied with respect to defendants’

arguments that the horizontal market allocation agreements alleged in the consolidated




16      The predominance issue may also impact the breadth of the class, i.e., all
employees or only certain kinds of employees. See Seaman, 2018 WL 671239, at *8
(granting class certification for a faculty class but denying class certification for a class
including faculty and non-faculty).
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class action complaint must be plead under the rule of reason. The motion to dismiss is

granted without prejudice with respect to Bendix and Ricon.

       The motion to strike (ECF No. 124) is granted without prejudice with respect to

striking the class allegations because plaintiffs did not make a prima facie showing in the

consolidated class action complaint that discovery is likely to substantiate that the

common issues of the proposed class of all employees predominate over the individual

questions. The motion to strike is also granted to the extent plaintiffs will be required to

amend the class definition, which is overbroad and lacks precision.

       An appropriate order will be entered.

                                                        BY THE COURT,

Dated: June 20, 2019                                    /s/ JOY FLOWERS CONTI
                                                        Joy Flowers Conti
                                                        Senior United States District Judge




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